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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY



     KIMBERLEE WILLIAMS, et al.
                                                    No. 2:11-cv-01754 (ES) (JAD)
                 Plaintiffs,                        CIVIL ACTION
           vs.
     BASF CATALYSTS LLC, et al.

                 Defendants.




                PLAINTIFFS’ MEMORANDUM OF LAW
            IN SUPPORT OF PRELIMINARY APPROVAL OF
                 THE CLASS ACTION SETTLEMENT

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        I.      Introduction

             After more than nine years of contentious litigation and extensive discovery,

    the parties, with the assistance of mediators, have reached a proposed class action

    settlement that is fair, reasonable and adequate for Class Members. The settlement

    recognizes that the Plaintiffs and the Defendants each face substantial risks and

    costs in proceeding further with this litigation, and that resolving the case now

    provides benefits to both sides.

             Under the terms of the Settlement Agreement, Defendants BASF Catalysts

    LLC (“BASF”) and Cahill Gordon & Reindel LLP (“Cahill”) (collectively

    “Defendants”) will establish a non-reversionary $72.5 million settlement fund

    (“Settlement Fund”) to compensate members of a proposed Settlement Class.

    Exhibit A. 1 In addition, BASF and Cahill will pay up to $3.5 million for the costs

    of providing a notice program to the proposed Settlement Class and for the

    administration of the claims submitted to the Settlement Fund. Defendants have

    further agreed that, subject to Court approval, the six Representative Plaintiffs

    (“Representative Plaintiffs” or “Plaintiffs”) will be paid representation service

    awards from the Settlement Fund in an amount not to exceed $50,000 each

    ($300,000 in the aggregate). Defendants BASF and Cahill have also agreed to not



    1
     Capitalized terms have the same meaning as in the parties’ Class Action
    Settlement Agreement.
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    oppose the petition for attorney’s fees and litigation expenses by Class Counsel to

    be awarded by the Court up to a maximum of $22.5 million and $1.2 million,

    respectively. All told, the proposed class settlement provides a substantial benefit

    package of nearly $100 Million to the Settlement Class Members in exchange for

    releasing Defendants along with the individual co-defendants named in the

    Williams Action, thereby ending the present litigation for all time.

          The proposed class settlement is fair, reasonable and adequate, and it readily

    satisfies the elements of Rule 23 of the Federal Rules of Civil Procedure. The

    proposed settlement includes a notice program that satisfies Rule 23 as well as

    constitutional and judicial guidelines. The proposed settlement’s terms and

    structure, moreover, provide the proposed Settlement Class with a substantial cash

    payment.

          Plaintiffs, without opposition from Defendants, now seek preliminary

    approval of the Class Action Settlement, a stay of this litigation and all Related

    Actions as defined in the Settlement Agreement, conditional certification of the

    putative Settlement Class, approval and authorization of the Notice Program,

    authorization to commence Interim Claims Processing under the proposed Plan of

    Distribution, and the setting of a schedule for final approval.




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         II.      Factual Background

    A.         Emtal Talc and the Johnson Mine

               From 1967 to 1983, a subsidiary of Engelhard Corporation mined talc from a

    single mine in Johnson, Vermont. This mine was known as the Johnson Mine, and

    the talc produced from it was sold under the brand name Emtal Talc. Emtal Talc

    was sold and used for certain industrial and commercial purposes. This lawsuit

    does not involve exposure to any personal cosmetic products such as baby or body

    powder. In 1983, Engelhard closed the Johnson Mine. In 2006, BASF acquired

    Engelhard and renamed it BASF Catalysts LLC.

    B.         Historical asbestos litigation.

               In the late 1980s and continuing for many years, numerous plaintiffs began

    filing bodily injury actions against dozens of corporate defendants, alleging that

    asbestos in the defendants’ products or facilities caused the plaintiffs to develop

    asbestos-related injuries. Many of the plaintiffs worked in tire plants or other

    manufacturing facilities where they worked around raw asbestos and multiple

    asbestos-containing products.

               Although talc is not asbestos, plaintiffs in various jurisdictions named

    Engelhard and other talc companies among dozens of other defendants, alleging

    that the talc companies’ talc contained asbestos. Engelhard retained Cahill, a

    premier New York law firm and Engelhard’s longtime outside counsel, to defend

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    Engelhard in these lawsuits. Cahill served as Engelhard’s national counsel in

    asbestos litigation from the late 1980s until 2009.

    C.    Plaintiffs’ class action claims.

          In 2009, Plaintiffs’ Counsel obtained evidence, which they believe

    contradicted the claims made by Defendants in the Underlying Lawsuits about

    Emtal Talc. On March 28, 2011, five of the current six Representative Plaintiffs

    filed this Class Action Lawsuit. The sixth Representative Plaintiff, Mrs. Rosanne

    Chernick, joined in the matter when the First Amended Class Action Complaint

    (“FAC”) was filed on August 3, 2011, after Defendants filed several Motions to

    Dismiss the initial complaint. Plaintiffs’ Second Amended Complaint (“SAC”) was

    filed on July 16, 2015.

          The SAC alleges that from 1984 to 2009, Engelhard and Cahill defended

    asbestos bodily injury cases in state and federal courts in part by (1) denying that

    Emtal Talc contained asbestos, (2) by denying the existence of any evidence that it

    did and/or (3) by stating that no Engelhard employee had ever testified about the

    presence of asbestos in its talc. Plaintiffs allege that Engelhard and Cahill

    employed this defense for 25 years, allegedly resulting in thousands of dismissals,

    either voluntarily, by court order, or through Engelhard’s participation in nuisance-

    value group settlements with other talc defendants (including talc defendants

    whose products were known at the time to contain asbestos).

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          Defendants have vigorously denied these allegations. In addition to denying

    that they committed the alleged fraud or that Emtal Talc contained injurious

    amounts of asbestos, Defendants argue that the Underlying Lawsuits were settled

    or dismissed for a variety of legitimate reasons. For example, Defendants point to

    evidence that many plaintiffs could not prove they were exposed to Emtal Talc,

    that some plaintiffs could not prove they suffered an asbestos-related injury, that

    some plaintiffs’ claims were time-barred, and so on. Defendants have also argued

    that Plaintiffs in this action did not suffer monetary damages given evidence that

    many plaintiffs accepted similar settlement values from other talc defendants for

    whom plaintiffs had evidence of asbestos contamination and exposure.

    D.    The initial proceedings in this Court.

          The FAC, as did the original complaint, alleged claims under New Jersey

    law for common-law fraud in various forms, fraudulent concealment (which

    encompasses New Jersey’s stand-alone “spoliation” tort), violation of New

    Jersey’s Racketeer Influenced and Corrupt Organizations Act (NJ-RICO), N.J.S.A.

    § 2C:41-1, et seq., conspiracy to violate New Jersey’s RICO statute, unjust

    enrichment, and common law conspiracy. In addition, with respect to Cahill and

    the co-defendant individual attorneys, the FAC pleaded a statutory claim for

    violation of New York Judiciary Law §487 (Misconduct by attorney) (“N.Y.J.L. §

    487 Claim”).

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          Defendants moved to dismiss the FAC claiming: (1) the District Court

    lacked jurisdiction over the case because of the Rooker-Feldman doctrine; (2)

    Plaintiffs had not adequately pleaded their claims; and (3) the District Court lacked

    the authority to provide Plaintiffs their requested relief because of the Anti-

    Injunction Act and the principles of justiciability. The District Court rejected the

    challenge to its jurisdiction, but otherwise fully granted the Motions to Dismiss.

    The Court ruled that Plaintiffs’ fraud and fraudulent concealment claims were not

    actionable mainly because New Jersey’s litigation privilege immunized Defendants

    from tort liability for alleged misstatements made in the Underlying Lawsuits. The

    District Court further found that Plaintiffs failed to plead an actionable RICO

    claim, reasoning that the Underlying Lawsuits were personal injury claims, and

    that Plaintiffs’ requested relief would impermissibly undermine prior state court

    judgments in the Underlying Lawsuits. Williams v. BASF Catalysts LLC, No. 11-

    1754, 2012 U.S. Dist. LEXIS 175918 (D.N.J. Dec. 12, 2012). The Court also held

    that an actionable N.Y.J.L. § 487 Claim was not alleged.

    E.    The Third Circuit decision.

          Plaintiffs appealed the decision dismissing the FAC to the Third Circuit,

    which reversed in part. It held that: (1) New Jersey’s litigation privilege does not

    bar Plaintiffs’ fraud and fraudulent concealment claims in view of what was

    alleged to have occurred; and (2) the FAC adequately alleged the elements of fraud

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    and fraudulent concealment under New Jersey law. The Third Circuit also affirmed

    in part, upholding the District Court’s decision to dismiss Plaintiffs’ RICO claim. 2

    Williams v. BASF Catalysts LLC, 765 F.3d 306 (3d Cir. 2014).

    F.    The proceedings in this Court following remand.

          Following the Third Circuit’s remand, Plaintiffs filed a 155-page SAC, with

    43 appended exhibits, again alleging claims against BASF and Cahill for

    fraudulent concealment, fraud, and civil conspiracy under New Jersey law. The

    District Court denied Defendants’ motions to dismiss the SAC and ordered the

    case to continue to discovery. Williams v. BASF Catalysts LLC, No. 11-1754, 2016

    U.S. Dist. LEXIS 46273, *23-27 (D.N.J. Apr. 5, 2016). To facilitate and expedite

    the discovery process and related disputes, the Court appointed retired New Jersey

    Supreme Court Justice Roberto A. Rivera-Soto as a Special Discovery Master

    (“SDM”). The SDM presided over and decided more than 50 discovery motions, as

    the parties engaged in what would become two years of extensive and hard-fought

    discovery. During this discovery phase, the parties also exchanged over 300 pieces

    of meet-and-confer correspondence, produced and reviewed hundreds of thousands

    of pages of documents and ESI equivalents, and completed 28 depositions.




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          The Third Circuit also affirmed in part and reversed in part the District
    Court’s opinion regarding justiciability of certain of the FAC’s claims for relief,
    which are not germane to the Class Action Settlement.
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          One of the first significant disputes between the parties centered on the

    scope of discovery. Specifically, the parties vigorously disagreed about the extent,

    if any, to which Defendants were entitled to delve into the merits of the Underlying

    Lawsuits and discover plaintiffs’ and their original attorneys’ files and confidential

    attorney-client communications from those suits. Plaintiffs argued that the

    Defendants had forfeited the right to discovery regarding the Underlying Lawsuits

    and sought a protective order precluding that review.

          After several rounds of briefing and argument, the District Court rejected

    Plaintiffs’ arguments, in part, regarding the scope of discovery and ruled that

    “exposition” of the Underlying Lawsuits was necessary. Williams v. BASF

    Catalysts, LLC, No. 11-1754, 2017 U.S. Dist. LEXIS 122053, *30, 33 (D.N.J.

    Aug. 3, 2017). To that end, the District Court ruled that the “scope of discovery

    will focus on the alleged wrongful conduct and any alleged harm following from

    that conduct” including “why Plaintiffs settled or dismissed their underlying

    claims.” Id. at *31. Chief Judge Linares ruled that “[t]o fully explore this issue,

    Defendants will be entitled to discover what Plaintiffs and their counsel knew, and

    were told, and whether any knowledge, or lack thereof, contributed to Plaintiffs’

    decisions on resolving the underlying case.” Id. That inquiry, the Court explained,

    permitted a waiver of Plaintiffs’ attorney-client privilege and therefore warranted



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    review of the files and correspondence related to the Underlying Lawsuits. Id. at

    *32-33.

          The second key issue addressed during discovery was Plaintiffs’ motion to

    compel the production of BASF’s privileged documents under the crime-fraud

    exception. Plaintiffs filed their initial crime-fraud brief on November 2, 2017.

    After considering that brief and Defendants’ opposition, the SDM held multiple

    days of oral argument regarding the threshold inquiry of whether Plaintiffs’ had

    made a prima facie showing that Defendants engaged in a crime or fraud. He

    eventually stated that he would like additional information concerning the

    scientific testing in order to help him decide the crime-fraud motion. Accordingly,

    and although Defendants’ first request for such a “Science Day” had been denied

    by the Court without prejudice, the SDM ordered that the parties provide expert

    testimony concerning the testing record. Plaintiffs objected to the SDM’s order

    providing for a Science Day, sought an emergency stay of and appealed the SDM’s

    order to the District Court. The appeal remained pending when, on June 26, 2018,

    Chief Judge Linares stayed the Action and ordered that the parties continue

    settlement discussions before Magistrate Judge Dickson. CM/ECF # 602.

          The parties also addressed a third key issue during discovery: Plaintiffs’

    communications with Ohio attorney Thomas Bevan. Mr. Bevan represented five of

    the six class representatives in their underlying lawsuits. At deposition, most of the
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    Plaintiffs themselves indicated that they had no personal knowledge of their

    underlying cases and would rely on Mr. Bevan to provide testimony in support of

    their claims.

          Defendants moved for discovery of Mr. Bevan’s communications with

    Plaintiffs and Class Counsel, in light of Mr. Bevan’s status as a key fact witness.

    Plaintiffs opposed Defendants’ motion, claiming that those communications were

    privileged. The SDM ultimately ordered in camera review of the requested

    materials, including any communications between Mr. Bevan and Class Counsel.

    Plaintiffs appealed the SDM’s order and sought a stay from the District Court.

    Plaintiffs’ request for a stay was denied.

          The SDM ruled that certain internal testing documents BASF claimed as

    privileged were discoverable. The Defendants appealed these rulings to the District

    Court. With appeals of all of the parties pending, the District Court stayed the

    Williams Action in its entirety and ordered that the parties participate in mediation.

    G.    Mediation efforts.

          The parties engaged in four rounds of mediation prior to reaching the present

    proposed settlement. Following remand from the Third Circuit, the parties agreed

    to pause and explore settlement through mediation. In February 2015, the parties

    participated in a mediation session before retired United States District Court



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    Judge Layn R. Phillips. The mediation did not result in a settlement and the parties

    thereafter resumed active litigation.

          In 2016, the parties agreed to again pause and return to mediation before

    Judge Phillips. Despite several mediation sessions with Judge Phillips throughout

    the summer of 2016, the parties again could not reach agreement on material terms

    and mediation ended. The parties once more resumed the litigation.

          In July 2018, after the parties completed significant discovery and with

    several appeals by Plaintiffs and Defendants of the SDM’s rulings on discovery

    disputes pending before him, Chief Judge Linares entered an order staying this

    matter, including the appeals from SDM orders then pending, and directed the

    parties to appear before Magistrate Judge Dickson for a settlement conference.

    CM/ECF # 602. Judge Dickson thereafter actively supervised and participated in

    the mediation process, which included four in-person sessions before him, as well

    as telephone conferences with the parties.

          Once the parties made some progress with Judge Dickson’s assistance

    toward the broad outlines of a potential settlement, the parties agreed to return

    once again to Judge Phillips for another round of mediation. After two intense,

    arms-length sessions conducted in the fall and winter of 2018, the parties in

    January 2019 forged an accord on the elements of a settlement. With an agreement

    in principle to settle the case, the parties negotiated and executed a term sheet.
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    Over the succeeding thirteen months, the parties had extensive discussions over

    telephone and e-mail in addition to many in-person meetings to draft the settlement

    agreement. And with the assistance of expert consultants and after considering

    suggestions from Defendants, Plaintiffs designed the proposed Plan of

    Distribution.

          As described in Judge Phillips’ Declaration, throughout the three rounds of

    mediation before him, he observed that “the parties vigorously asserted their

    respective positions on all material issues” and that these “discussions were often

    difficult, though both sides remained respectful and professional.” Exhibit B. Judge

    Phillips has further stated his view that the parties were “represented by highly

    experienced, competent, and committed counsel” who were “extremely well-

    versed in the complex issues involved in this class action and were therefore able

    to appreciate the merits of the case and risks of continued litigation.” Id.

          Judge Phillips recognized that the proposed Settlement Agreement reflects a

    compromise between the parties. In that regard, Judge Phillips first noted that,

    based on his supervision of the settlement discussions, it is his view that

    “Plaintiffs’ Counsel weighed the risks of litigation against the need to provide

    timely benefits to the members of the proposed Settlement Class,” which might be

    delayed for years, if not altogether, without the settlement. Id. Judge Phillips next

    noted that Plaintiffs’ Counsel have argued that damages can be determined on a
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    class-wide basis. But as he observed, they have “acknowledged the risk that proof

    of these damages might entail review of individual cases to some extent, which

    owing to the passage of time since Defendants’ alleged fraudulent activity began

    nearly 30 years ago, could prove highly difficult.” Id. Judge Phillips also observed

    that based on the disclosures in the sample of underlying plaintiffs’ files produced,

    “plaintiffs at the time often accepted modest settlement amounts much like what

    Engelhard/BASF paid to those same plaintiffs.” Id. There is also some possibility

    that Plaintiffs’ motion to compel privileged documents under the crime-fraud

    exception could be denied, which would impact the proofs Plaintiffs could offer at

    trial. And lastly, Judge Phillips recognized that, in all events, “Plaintiffs would

    have to contend with other defenses such as (1) the lack of evidence of a particular

    plaintiff’s exposure to Emtal talc; (2) that some plaintiffs relied upon allegedly

    since-discredited experts to prove the diagnosis of their claimed asbestos diseases;

    (3) that some claims were dismissed for other reasons, such as being untimely

    filed; (4) that some cases were filed in the wrong jurisdiction; or (5) were

    dismissed because of some other procedural or substantive reason unrelated to the

    asbestos-content of Emtal talc.” Id.

          On the other side of the coin, Judge Phillips noted the risks that Defendants

    might face if this litigation were to continue, observing that “Plaintiffs claim to

    have identified documents and testimony that contradict the representations that

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    Defendants made in the underlying cases to plaintiffs and the courts that: (1) Emtal

    talc did not contain asbestos; (2) no evidence existed that Emtal talc contained

    asbestos; and (3) no Engelhard employee had ever testified about whether Emtal

    talc contained asbestos.” Id. He also noted the possibility that this Court could

    grant Plaintiffs’ crime-fraud motion, which would result in the disclosure of

    communications that Defendants have long-claimed are protected from discovery.

    Id. Judge Phillips accordingly found that the parties “assessed and balanced the

    substantial risks if this litigation continues” and that the Class Action Settlement

    thus “reflects a sound compromise by experienced, competent counsel.” Id.

          Judge Phillips further recognized that the “proposed Class Action Settlement

    resulted from arm’s-length—and indeed, often contentious—negotiations which

    were in his opinion, fair, reasonable, and adequate and produced an outstanding

    result for the thousands of members of the proposed Settlement Class as it would,

    if approved, provide timely compensation to them.” Id. In reaching this conclusion,

    Judge Phillips “found it significant that Plaintiffs would be unlikely to have

    obtained more money and benefits to the class without years more of discovery,

    trial, and appellate proceedings, where at each stage, Plaintiffs would face

    substantial risks relating to the ability to obtain class certification and the merits of

    their claim.” Id. Judge Phillips at the same time also recognized that “providing the

    benefits to the Settlement Class now would itself be a significant benefit to the

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    Class due to the passage of time since the alleged fraud began.” Id. Judge Phillips

    thus found that the Class Action Settlement is “fair, reasonable, and adequate” as it

    resulted “from an arm’s length and often contentious mediation process” and

    would provide “substantial benefits to the proposed Settlement Class in light of the

    risks of the litigation.” Id.

              Judge Phillips’ declaration also confirms that Class Counsel’s attorney’s

    fees, cost reimbursements and class representative service fees were neither

    discussed nor negotiated until all material substantive terms had been negotiated

    and agreed to in principle.

       III.     Material Terms of the Settlement

           The Class Action Settlement provides substantial benefits to the members of

    the putative Settlement Class by accelerating a resolution of the Action and

    providing significant monetary compensation.

       A. The Settlement Class definition.

           The Settlement Class is defined to include

           all Persons within the United States and its territories who after March
           7, 1984 and before March 30, 2011 filed and served a lawsuit against
           Engelhard/BASF seeking asbestos-related bodily injury compensation
           or other relief arising from exposure to Emtal Talc products, and who
           before March 30, 2011 either: (A) had voluntarily dismissed or
           terminated the lawsuit as to Engelhard/BASF after the suit was filed,
           including any voluntary dismissal or release of claims due to
           settlement; or (B) had their lawsuit as to Engelhard/BASF
           involuntarily dismissed.
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    For the purposes of this definition, the date on which a voluntary dismissal or

    termination occurred for purposes of determining class membership is deemed to

    be the earlier of either (i) the date on which the agreement or consent by the

    plaintiff or his/her counsel to dismiss or terminate the lawsuit occurred; or (ii) the

    date on which the dismissal or termination of the lawsuit was entered by or in the

    court in which it was pending.

       B. Benefits to the Settlement Class Members.

          The Class Action Settlement, if approved by the Court, would establish a

    non-reversionary Settlement Fund of $72,500,000 paid by BASF and Cahill. BASF

    and Cahill will also pay $3,500,000 for administrative expenses incurred in

    designing, establishing and carrying out the Plan of Notice and the Plan of

    Administration.

       C. Class Counsel Fees and Litigation Cost Reimbursement.

          In addition to paying the direct benefits to the Settlement Class Members

    and administration costs, BASF and Cahill have relieved the proposed Settlement

    Class of any responsibility to pay Class Counsel’s fees by agreeing, subject to

    Court approval, to pay Class Counsel’s attorney’s fees up to $22,500,000 and

    reimbursement of costs up to $1,200,000, the application for which Defendants

    have agreed to not oppose. Class Counsel’s fee, if approved, is 22.5% of the total



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    amount paid by the Defendants to the Settlement Fund, Cost Fund and Class

    Counsel’s fee, all of which benefit the Class.

        D. Non-monetary benefits to the settlement Class.

          The Settlement Agreement provides that, subject to any operative protective

    and/or sealing orders, non-privileged Emtal Talc litigation materials shall be made

    available to anyone requesting them at no expense to Defendants. Those materials

    include (a) the Williams Action’s pleadings; (b) the Williams Action’s non-

    privileged depositions (including non-privileged exhibits); (c) non-privileged

    documents produced or subpoenaed during discovery in the Williams Action, and

    (d) copies of the public non-privileged depositions (including non-privileged

    exhibits) taken in the New Jersey Superior Court Sampson, Comandini, Fuschino,

    Paduano and Volk actions. 3 This discovery represents the culmination of nine

    years of hard-fought litigation and thus provides a significant, non-economic

    benefit to the Class.




    3
            Sampson v. 3M Co., No. MID-L-5384-11AS (N.J. Sup. Ct. Middlesex
    Cnty.); Comandini v. Asbestos Corp. Ltd., et al., No. MID-L-10899-07AS (N.J.
    Sup. Ct. Middlesex Cnty.); Fuschino v. Asbestos Corp. Ltd., et al., No. MID-L-
    4398-07AS (N.J. Sup. Ct. Middlesex Cnty.); Paduano v. Ace Scientific Supply Co.,
    et al., No. MID-L-2976-09AS (N.J. Sup. Ct. Middlesex Cnty.); Volk v. Asbestos
    Corp. Ltd., No. MID-L-10012-07AS (N.J. Sup. Ct. Middlesex Cnty.).
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       E. The Plan of Distribution.

          The $72.5 million Settlement Fund being established under the proposed

    Settlement will be distributed according to a Plan of Distribution (“Plan” or

    “POD”) approved by the Court. The terms of the Settlement Agreement give Class

    Counsel the sole responsibility and right for designing the Plan and obtaining court

    approval. None of the Defendants accordingly have any responsibility for the

    Plan’s distribution scheme, any claim adjudications required under the Plan to

    implement it, nor for any of the payments or amounts of payment from it.

          Class Counsel with the assistance of consultants on asbestos claims facility

    design and operations and lien administration have developed a proposed POD,

    which is annexed to this Motion for Preliminary Approval as Exhibit C. A copy of

    the Plan if preliminarily approved will be published on the Settlement’s Website as

    part of the Notice. By way of overview, the proposed Plan calls for the

    establishment of a Settlement Fund claims facility, the filing of claims submissions

    by class members who want to receive compensation from the fund, compensation

    awarded according to three separate but complementary compensation programs

    (including one based on existence and severity of asbestos disease) and

    mechanisms for supporting and adjudication of claims. The claims facility’s

    operations will be managed and conducted by a Settlement Trustee, an

    Administrator and a Lien Administrator, each of which are each required to at all

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    times administer the Plan and distribute the Settlement Fund according to its terms

    under the auspices of the Court.

          In many respects the Plan is similar to a Section 524(g) Asbestos

    Bankruptcy Claims Resolution Trust facility, but due to the unique circumstances

    of this case is not by design and intent exactly the same in operation. Class

    counsel, together with their consulting experts, Verus LLC (asbestos claims

    facilities) believe the proposed Plan, its allocation scheme and its eligibility

    requirements fairly, appropriately and equitably distributes the Settlement Fund to

    eligible Settlement Class Members, taking into account the foreseeable difficulties

    that Settlement Class Members may encounter in locating and marshalling

    information and evidence to support a claim given the passage of time since the

    Underlying Suits were actively prosecuted. See Declarations of Daniel Myers and

    Mark Zabel annexed as Exhibits D and E.

          1. Establishment of a settlement claims facility and appointment of a
             Settlement Trustee, Claims Administrator and Lien Administrator.

          The Settlement Fund’s claims facility and allocation and distribution

    processes will be overseen and managed by a Settlement Trustee appointed by the

    Court as a Special Master under Fed. R. Civ. Pro. 53. The Settlement Trustee will

    be imbued with Special Master adjudicatory powers regarding the fund’s awards

    and payments as necessary to carry out the Plan.


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          Class Counsel is nominating the Honorable Marina Corodemus, J.S.C

    (Retired) as the Settlement Trustee/Special Master position and a motion for her

    appointment is being made contemporaneously with this instant Motion for

    Preliminary Approval. Class Counsel requests that the Court in its Preliminary

    Approval Order appoint Judge Corodemus to serve as Interim Settlement Trustee

    during the Settlement’s Interim Claims Period (i.e. – from the date of preliminary

    approval to the settlement’s Effective Date). As Interim Settlement Trustee, Judge

    Corodemus would be responsible for setting up and conducting the interim claim

    administration operations and performing the duties required to be performed

    under the Settlement Agreement and the Court’s Preliminary Approval Order

    during the time the Court is considering the pending request for final approval of

    the settlement.

          Judge Corodemus’s qualifications for these positions are set forth in her

    Declaration in Support of Appointment as Settlement Trustee and Special Master

    which is annexed to Plaintiffs’ Motion for Preliminary Approval. Exhibit F. To

    briefly summarize, she is a former New Jersey Superior Court judge who presided

    over New Jersey’s Mass Tort Program for many years. Since leaving the bench,

    Judge Corodemus has served in the capacity of special master or settlement trustee

    in a number of major mass tort claims resolution facilities. From that she has

    substantial experience and expertise in overseeing, and administering mass tort

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    settlements, including the adjudication of disputes involving claims. Currently she

    serves as one of the trustees of the G-I Holdings Inc. Asbestos Personal Injury

    Settlement Trust, a 524(g) settlement claims facility that serves as one of the

    models examined in designing the proposed Plan.

          The Settlement Trustee/Special Master will be assisted in executing the Plan

    of Distribution by a third-party claims administration company appointed by the

    Court (the “Administrator”). The Administrator under the Plan is authorized to

    receive, process and make provisional determinations of claims to the Fund (which

    are all subject to review, modification or approval by the Settlement Trustee),

    establish and maintain the Settlement Fund’s claims processes, books, records and

    internal controls, handle the Fund’s routine inquiries and communications, and

    make claim disbursements once claim distribution schedules are approved by the

    Court. The Claims Administrator will also serve as the Interim Administrator to

    perform certain administration operations and duties relating to the proposed

    settlement that are required to be performed under the parties’ Settlement

    Agreement and the Court’s Preliminary Approval Order.

          Class Counsel is requesting the Court appoint Verus LLC as the

    Administrator. Its qualifications for this appointment are set out in the Declaration

    of Daniel Myers. Verus, as mentioned above, served as a consultant to Class

    Counsel in the design of the Plan and is familiar with the plan’s intent and
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    requirements. Verus performed many of the requisite tasks needed to design the

    Plan, such as estimations of the class size and disease level distributions;

    developing class member mailing lists; deriving claim compensation ratios and

    advising Class Counsel on appropriate and feasible claims administration

    procedures. The annexed declarations of Daniel Myers and Mark Zabel (Exhibits

    D and E) explain Verus’ roles and work in developing the Plan and its

    qualifications to serve as the Settlement’s Administrator.

          Under both the Plan and Settlement Agreement, the Settlement Trustee is

    authorized to retain, subject to Court approval, a lien resolution company (“Lien

    Administrator”). The Lien Administrator will, as a settlement benefit, assist each

    Claimant to determine the existence of Government Liens and the amounts needed

    to clear and resolve such liens. The terms of the Settlement Agreement require that

    a claimant to the Fund must clear these Government Liens.

          Class Counsel is requesting the Court appoint Edgar C. Gentle, III, Esq. and

    his law firm, Gentle, Turner, Sexton & Harbison, LLC, to collectively serve as

    Lien Administrator. The firm’s qualifications are set out in the declaration of Edgar

    C. Gentle. Exhibit G.

          2. Proposed distribution of the Settlement Fund among Class Members.

          The Plan establishes three compensation programs to which Settlement

    Class Members meeting defined eligibility criteria may apply for compensation
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    award payments (each program being referred to as a “Part”). The Settlement

    Fund’s Part A program provides Base Compensation Payments to Settlement Class

    Members who can establish that the Claimant or Claimant’s decedent during the

    Class Period filed an Underlying Lawsuit against Engelhard/BASF which credibly

    asserted in good faith an asbestos injury caused by alleged exposure to Emtal Talc

    (“Base Payments”). The Plan’s Part B program provides compensation payments

    to Settlement Class Members who satisfy Part A and also present sufficient

    evidence of an asbestos bodily injury sustained by them (or if applicable, their

    decedent). The Plan’s Part C program establishes an Extraordinary Injury Fund or

    “EIF” from which the Settlement Trustee may, in exceptional cases, make a

    discretionary supplemental compensation payment to mesothelioma injury

    claimants subject to eligibility guidelines and limitations as set forth in this Plan.

             a.     Payments under the Plan’s Part A program.

          The Plan’s Part A program provides Base Payments from a $6.25 million

    sub-fund allocation of the Settlement Fund amount to Settlement Class Members

    whose Underlying Lawsuits were dismissed and who are releasing all claims

    related to the Underlying Lawsuits, including the Williams Class Action Claims,

    against the Released Parties. Settlement Class Members who were Injured Persons

    (which includes the personal representatives of a deceased Injured Person) in the

    Underlying Lawsuits are referred to as “Primary Claimants”. Each Primary

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    Claimant who timely submits a claim for Part A compensation and establishes that

    his or her subject Underlying Lawsuit presented a good faith credible claim for

    injuries allegedly caused by exposure to Emtal Talc will receive a payment of up to

    $500 from the Part A sub-fund. Generally speaking, claims on behalf of a deceased

    Injured Person must be filed by the deceased person’s estate representative (who is

    considered to be a “Primary Claimant” under the Plan). However, where the only

    claim to the Settlement Fund being applied for with respect to a deceased Injured

    Person are Part A compensation shares and no claims are made for compensation

    under Parts B or C, the claim may be submitted by the Injured Person’s surviving

    spouse if any, or if none, by an Injured Person’s surviving child with the written

    consent of all other surviving children, if any.

          Where there are one or more Settlement Class Members associated with a

    Primary Claimant as a Derivative Claimant, that is, the Settlement Class Member’s

    claim in the Underlying Lawsuit was based upon the Primary Claimant’s asbestos

    injury and not theirs, then the Primary Claimant (or in the limited circumstances

    where a Derivative Claimant is making only the Part A Claim) will also be eligible

    to receive one additional Part A payment of up to $500, for a total Part A award of

    up to $1,000.

          Part A base payments are subject to proration downward if more than 12,500

    Part A base payments are awarded, counting each Primary and Derivative
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    Claimant base payment award separately. Any funds in the Part A sub-fund

    remaining after payment of all eligible Part A share claims will be reallocated by

    the Settlement Trustee first to Part C to pay allowed EIF claims, if any, or

    otherwise to Part B or Part C in her discretion with the advice and consent of Class

    Counsel (such reallocation being referred to as a “spillover”). The Settlement

    Trustee has discretion to reallocate residual Part C (EIF) funds to Part A if there is

    a shortfall.

              b.    Payments under the Plan’s Part B program.

           The Plan’s Part B program provides additional compensation to the Injured

    Persons in the Underlying Lawsuits (or their estates if deceased) out of an initial

    sub-fund allocation from the Settlement Fund of $59.75 million. The Part B sub-

    fund will be distributed in its entirety among the Part B Claimants adjudicated

    during the claims process to be eligible to share in Part B distributions. The amount

    of the Part B sub-fund may change during the course of the Settlement Fund’s

    administration based on the Settlement Trustee’s application of a spillover of

    unused allocations of the Part A or Part C programs’ sub-funds, accrued interest

    earned on the Settlement Fund’s assets, or the need to pay administration costs and

    expenses that cannot be paid or fully paid from the Settlement Cost Fund. The

    amount a Primary Claimant will receive depends upon the nature of the disease



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    allegedly sustained from exposure to Emtal Talc and the number of other persons

    who make Part B claims and the nature of their diseases.

          Part B compensation claims may be submitted only by Primary Claimants,

    including the Injured Person in the Underlying Lawsuit or by the Injured Person’s

    estate if such person is deceased. Class Members who apply and meet the

    eligibility requirements for a Plan B program award will receive a proportionate

    share of the Part B sub-fund based upon a system of points awarded for the

    asbestos disease the Injured Person sustained and was diagnosed.

          Eligibility for Part B compensation requires that a Primary Claimant

    establish (a) entitlement to Part A compensation; and (b) through credible,

    competent proof that the Injured Person sustained an asbestos-related injury falling

    into one of four defined categories of asbestos disease levels: (1) Non-malignant

    asbestos pulmonary disease (a “Part B Level 1 claim”); (2) Malignant Asbestos

    Disease Other Than Mesothelioma or Level 3 Claim Lung Cancer (a “Part B

    Level 2 claim”); (3) either: (i) Primary Lung Cancer with evidence of underlying

    Bilateral Asbestos-Related Nonmalignant Disease; or (ii) Severe Asbestosis (a

    “Part B Level 3 claim”); or (4) Mesothelioma (a “Part B Level 4 claim”). A Part

    B claim may be based on the highest degree of the Injured Person’s disease

    progression provable as of the time of the claim submission to the Plan. Claimants

    may establish proof of medical injury through a certification of a prior equivalent
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    asbestos disease level adjudication by one of several designated Qualified Asbestos

    Trusts or through individual adjudication of satisfactory medical evidence provided

    by the Claimant to the Administrator.

          The Part B sub-fund will be allocated among and paid to those Part B

    Claimants adjudicated to be eligible according to the disease level sustained using

    an assigned number of “Qualifying Claim Points” based on whether they have a

    Part B Level 1, 2, 3 or 4 disease. Part B sub-fund compensation will be the

    claimant’s pro rata share of the Part B sub-fund calculated according to the

    formula X/Y x Z, where X represents the number of the individual eligible

    Claimant’s adjudicated Qualifying Claim Points; Y represents the aggregate of all

    eligible Claimants' adjudicated Qualifying Claim Points, and Z represents the Part

    B sub-fund dollar amount (including any spillovers from Part A or Part C sub-

    funds). The number of Qualifying Claim Points for each Part B claim level is set

    forth in the following Table 1. The number of Qualifying Claim Points assigned to

    each asbestos disease category in Table 1 is based upon a survey and analysis

    conducted by Verus LLC of compensation programs employed by eighteen

    relatively comparable bankruptcy asbestos trust claims facilities to allocate their

    asbestos claim trust funds among claimants suffering from different levels of

    asbestos disease. The declaration of Mark Zabel explains how Verus derived the

    values. Exhibit E.

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           Precise amounts of compensation for each Claim Level cannot be stated

    presently because a number of key factors are not yet known, including the actual

    number and disease level distribution of Part B claims received, whether there will

    be spillover from Parts A and C, and other variables in the Plan of Distribution.

    Table 1 below, however, provides a range of hypothetical Part B gross payment

    estimates based on (a) receipt and approval by the Settlement Fund of 7,000, 8,000

    and 8,500 Part B claims; and (b) an asbestos disease distribution rate equal to the

    historical asbestos disease rates experienced by the Johns Manville Asbestos Trust

    (which rates are stated for each disease level in the table). 4

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    4
      The actual payment received by a class member may be less due to charges by
    other attorneys and payment of any liens associated with award. Individual class
    member’s attorneys may charge fees or expenses for having represented him or her
    or their decedent in an Underlying Lawsuit or in their Settlement Fund claim
    submission at the Claimant’s request. Such fees will reduce the amount of money a
    class member will receive. For example, should an attorney charge a class member
    a 33.3% contingency fee, and the class member is eligible for a Part A payment of
    $500 and a Level 2 Part B Claim payment of $10,824 as provided in Table 1 above
    (this example assumes there are 8,000 approved claims) for a total amount of
    $11,324, the net recovery to the class member after payment of personal attorneys’
    fees would be $7,550 ($11,324 – $3,774). In recent years, courts in class action
    cases have considered if and to what extent fees may be charged by non-Class
    Counsel. The Court in this case has jurisdiction to consider and will make a
    determination about the fees and the amounts which may be charged to Class
    Members by non-Class Counsel, individual counsel and former counsel. See, e.g.,
    In re NFL Players’ Concussion Injury Litig., 2018 WL 1658808 (E.D. Pa. 2018).
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                                                                    Table 1
                             Hypothetical Part B Payment Share Estimates*
                                                            Qualifying Claim                              Estimated Payment
                                                                 Points                              (Estimated number of claims)

                  Part B Claim Levels
                                                            (Assumed disease rate
                                                                    %)                    7,500                 8,000                 8,500
                                                                                    approved claimants    approved claimants    approved claimants


                     Level 1 Claim
      Non-Malignant Asbestos disease other
           than Severe Asbestosis.
                                                                     1                 $1,283                $1,203                 $1,132
     (Bilateral Asbestos-Related
     Nonmalignant Disease Injuries other than                 (86.3 %)                 (6,473)               (6,904)                (7,336)
     Severe Asbestosis)

     Level 2 Claim                                                   9                $11,546               $10,824                 $10,188
     Malignant Asbestos Disease Other Than
     Mesothelioma or Level 3 Claim Lung
     Cancer.                                                    (2.1 %)                 (158)                 (168)                  (179)
     Level 3 Claim
     Either: (a) Primary lung cancer with                           20                $25,658               $24,054                 $22,639
     evidence of underlying Bilateral
     Asbestos-Related Nonmalignant Disease;
     or (b) Severe Asbestosis.
                                                                (7.3 %)                 (548)                 (584)                  (621)

     Level 4 Claim
                                                                    86               $110,327              $103,432                 $97,348
     Mesothelioma
                                                                (4.3 %)                 (323)                 (344)                  (366)
     * Due to rounding, the numbers presented may not add up precisely to the totals indicated and payment estimates may not precisely reflect the
     absolute figures.


                  c.          Payments under the Plan’s Part C discretionary EIF program.

              The Plan’s Part C EIF program allocates $6.5 million of the Settlement Fund

    for an Extraordinary Injury Fund under which the Settlement Trustee has

    discretionary authority to award bounded additional supplemental compensation

    payments to a Primary Claimant with mesothelioma who establishes to the

    Settlement Trustee’s satisfaction that the Primary Claimant sustained an


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    extraordinary physical injury and/or economic loss allegedly as a result of

    exposure to Emtal Talc mined, milled, sold or distributed by Engelhard/BASF that

    is materially and substantially beyond that sustained by typical other Part B

    mesothelioma Primary Claimants.

          To qualify for an EIF award, a Primary Claimant, in addition to establishing

    Class membership under Part A and Part B, must satisfy specific eligibility

    requirements that: (1) the subject Injured Person developed mesothelioma; (2) the

    Primary Claimant has not received appropriate and sufficient compensation for the

    subject mesothelioma injury; (3) the subject mesothelioma injury and resulting

    losses were allegedly a result of frequent, regular and proximate exposure to Emtal

    Talc; and (4) the Underlying Lawsuit’s plaintiff lawyer or firm received direct

    representations from an Engelhard/BASF attorney regarding the absence of

    asbestos in Emtal Talc. No award made pursuant to the discretionary EIF program

    may exceed $175,000. The Part C EIF sub-fund may be increased by unallocated

    or unclaimed fund spillovers from the Part A. The Settlement Trustee is not

    required to make any EIF awards or to make awards sufficient to exhaust the EIF

    fund. The Settlement Trustee also has the discretion to re-allocate the unused

    portion of the Part C EIF sub-fund to the Part A or Part B funds in its discretion

    with the advice and consent of Class Counsel.



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             d.    Liens and personal attorney’s fees that could reduce individual
                   claim awards
          The Plan of Distribution includes provisions establishing a Lien Resolution

    program. Plaintiffs nominate Edgar C. Gentle III, Esquire to serve as the Lien

    Administrator who will be charged with establishing processes to identify

    healthcare-related liens and the means of resolving those liens all at no cost to

    Settlement Class Members.

          Notice to the Class Members will advise them that there are no filing or

    other administrative fees that will reduce any award to which they are eligible from

    the Settlement Fund.

          Regarding attorneys and fees for which Class Members may be responsible

    to pay, the Notice will advise Class Members that Class Counsel represents all

    Class Members regarding the issues common to all Class Members. Class Counsel

    are Cohen Placitella & Roth, P.C. Class Counsel have represented the named

    Plaintiffs and the Class for over nine years and have undertaken significant efforts

    in this litigation, including motions practice and briefing, an appeal to the Third

    Circuit, multiple court appearances, depositions and written discovery, and

    settlement negotiations. Class Counsel is seeking $22.5 million for their work.

    Defendants have agreed not to oppose Class Counsel’s request which represents

    approximately 23% of the Settlement Fund, Cost Fund and Class Counsel fee the

    Defendants have agreed to pay to settle this case. Class Members will be told they
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    will not pay, nor have the Settlement Fund reduced by, fees paid to Class Counsel.

    The Class Notice also informs Class Members that Class Counsel are not

    responsible for and will not represent Class Members in the submission of claims

    to the Settlement Fund for monetary payments.

          Class Members will be advised in the Notice that they have the right to hire

    their own lawyer to represent them in the Class Action and/or to file their claim for

    payment from the Settlement Fund. The Notice makes clear that should a Class

    Member hire their own lawyer, they are responsible for paying that lawyer’s

    attorney’s fee which, in turn, will reduce the net compensation they receive from

    this Class Action.

          The Notice also alerts Class Members that some lawyers may assert an

    entitlement to a fee based upon agreements entered into with Class Members or

    their decedents to prosecute claims in the Underlying Lawsuits.

          Class Members are advised in the Notice that the fees charged by lawyers

    they hire, or claimed by those under fee agreements entered with Class Members

    or their decedents to prosecute the Underlying Lawsuits, may be a percentage of

    the amount of money awarded to the them, thereby reducing the amount of money

    the Class Member will receive as a result of this Class Action. The notice provides

    the following hypothetical for purposes of example only:


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            Should an attorney charge a class member a 33.3% contingency fee, and
            the class member is eligible for a Part A payment of $500 and a Level 2
            Part B Claim payment of $10,824 as provided in Table 1 above (this
            example assumes there are 8,000 approved claims) for a total amount of
            $11,324, the net recovery to the class member after payment of personal
            attorneys’ fees would be $7,550 ($11,324 – $3,774).


          Class members are advised in the Notice that the net recovery for the Class

    Member would vary depending on the fee percentage the attorney would charge. It

    is also made clear that this fee, which is their responsibility, is separate and apart

    from the fee that Class Counsel will be paid pursuant to approval of the Court.

          Class Members are additionally informed in the Notice that courts in class

    action cases have considered if and to what extent fees may be charged by non-

    Class Counsel and that the Court in this case has retained jurisdiction to consider

    and will make a determination about the fees and the amounts which may be

    charged to Class Members by non-Class Counsel, individual counsel and former

    counsel.

          F.     The Plan of Notice.

          The Class will be given notice of the proposed Settlement together with an

    explanation of their rights as Class Members, in a clear, direct manner that fully

    satisfies the requirements of Rule 23, the standards set out in the Federal Judicial

    Center’s Judges’ Class Action Notice and Claims Process Checklist and Plain

    Language Guide (“FJC Checklist”), and due process.

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          To accomplish this goal, the Williams Plaintiffs engaged Verus LLC, their

    nominee for Claims Administrator, and BrownGreer PLC, their nominee for

    Notice Agent. Verus developed a list of potential class members based on litigation

    claim data and documents produced through the Williams case discovery.

    BrownGreer fashioned a Notice Plan designed to reach and inform these Class

    Members (or their heirs where the Class Member is deceased) about the settlement

    and their rights thereunder.

          As described in the declarations of Mark Zabel, Verus’ Director of

    Analytics, and Orran Brown Sr., Chairman and a founding partner of BrownGreer,

    both companies went to great lengths to capture necessary information about the

    potential Class Members’ identities, next of kin when and where a potential Class

    Member was known to be deceased, current or last known locations of residence,

    and the identities and current addresses of their attorneys in the Underlying

    Lawsuits. With this information in hand, BrownGreer developed a Notice Plan

    described in the annexed Declaration of Orran L. Brown, Sr. in Support of Notice

    Plan. Exhibit M.

          The key elements of BrownGreer’s Notice Plan are:

          (a)    Direct Notice. Copies of the proposed long-form Notice explaining

    the settlement, the class certification and the Class Members’ rights, substantially

    in the form of Exhibit K, will be mailed to all presumed living Class Members
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    identified through Verus and BrownGreer’s work. Where the potential Class

    Member is known to be dead, a copy of the long-form Notice will be mailed to

    either (1) the deceased’s personal representative if that identity is known and an

    address is available; or (2) both the deceased’s last known address and to the

    Presumed Living Relatives of the deceased who may be or may know the deceased

    class member’s personal representatives. 5

          (b)    Notice through mailings to the Class Members’ Attorneys and Law

    Firms in Underlying Lawsuits. The Notice Agent will mail a copy of the long-

    form Notice to every attorney and law firm (including known successor law firms

    where the attorney has died or retired, or the law firm has dissolved or

    reconstituted) for which there is an address available. In addition, the Notice Agent

    will provide these lawyers with a list of potential Class Members who Verus’

    research suggests were the lawyers who had represented potential Class Members

    in the Underlying Lawsuits and a letter substantially in the form of Exhibit 3 to the

    Brown Declaration. Verus’ experience as the administrator for several asbestos

    524(g) trusts shows that asbestos claimant law firms (or their firm’s successors),




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     The rationale for mailing a copy to the deceased’s last known address is
    explained by BrownGreer as follows: “[w]hile notices mailed to these persons’ last
    known addresses, of course, will not reach the actual Class Members, they may, at
    minimal cost, reach family members or other persons who are or may know
    personal representatives of the Deceased.” Exhibit M, ¶ 17(3).
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    which had represented potential Class Members in the Underlying Lawsuits

    continued over years to maintain contact with putative Class Members or their

    surviving families on legal matters, including continuing to handle their ongoing

    claims with asbestos company bankruptcy trusts. Thus, notice to these law firms

    will likely increase the reach of direct notice to the Class because the Exhibit 3

    letter asks that each lawyer do two things: (1) mail the Notice to his or her clients

    who were plaintiffs in the Underlying Lawsuits; and (2) provide the Notice Agent

    with the names of those clients to whom notice was mailed. Plaintiffs’ Counsel has

    every confidence that these lawyers will fulfill these tasks.

           (c)    Publication Notice. A summary version of the Notice will be

    published in three national print publications targeted to the Class Members’

    demographic characteristics: AARP Bulletin, Conquer and Coping with Cancer.

    The summary version will also be published in 41 regional newspapers located in

    Ohio, Mississippi, Georgia, and Alabama based upon BrownGreer’s analysis of

    pertinent addresses showing that nearly 82% of the Presumed Living Class

    Members and 72.5% of the Presumed Living Relatives reside in these four states.

    The names of the publications along with their locations and circulation

    information are listed in the Brown Declaration (“Exhibit M”) at ¶ 20(1) (Table).

          In addition to the print media publications, the Notice Plan will also employ

    digital (internet) notice components. These include (1) “banner” advertisements

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    placed on the online version of People magazine; and (2) paid internet search terms

    ads responding to targeted keywords on top Internet search engines, such as

    Google. The internet search terms aspect of the Notice Plan alone aims to achieve

    approximately 10,000 impressions and 300 click-throughs to the Settlement

    Website each month. According to BrownGreer, these digital components of the

    Notice Plan will be targeted to reach audiences that include the Class Members and

    their next of kin’s demographics, as well as to offer media encounters to audiences

    who are avoiding or are less exposed to print media due to the COVID-19

    Pandemic. Exhibit M, ¶ 20(2).

          (d)   A Press Release. The Notice Agent will issue a joint press release

    substantially in the form of Exhibit 4 to the Brown Declaration through Cision/PR

    Newswire, which is a leading provider of multimedia platforms and distribution.

    The press release is designed to explain the core aspects of the proposed settlement

    and provide the address for the Settlement Website, as well as a toll-free number.

          Plaintiffs respectfully submit the Notice Plan developed by BrownGreer

    fully meets Rule 23’s and the Federal Judicial Center’s requirements and satisfies

    due process. Mr. Brown states in his declaration, “With an estimated direct notice

    reach exceeding 77% of Presumed Living Class Members or their attorneys in

    the Underlying Lawsuits and at least one Relative of deceased Class Members, a

    regional public notice campaign that targets Presumed Living Class Members
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    and Presumed Living Relatives, national print publication ads that will expose

    Presumed Living Class Members and Relatives outside of the four primary

    states of residence to the notice, and a digital component targeting those Class

    Members and their residents who consume media electronically and actively

    search for information relevant to this matter, the Notice Plan is likely to

    provide the same or better reach than courts have approved in other similar class

    matters.” Exhibit M, ¶ 21. The record developed in this case demonstrates that

    the attorneys identified have been active with their clients and surviving family

    members in filing trust claims since the Underlying Lawsuits were dismissed.

    As such, the parties believe that BrownGreer’s estimates of the reach of this

    notice plan are conservative.

             Based on Class Counsel’s long experience in handling asbestos claims and

    knowledge of the asbestos bar and nature of asbestos claimants, the 77% reach

    statistic is conservative; a point with which BrownGreer in its declaration concurs.

    Id. at ¶ 21. The Notice Plan accordingly should be approved and ordered executed

    and carried out by the Notice Agent.

       IV.    Argument

          Federal Rule of Civil Procedure 23(e) requires judicial approval for the

    settlement of class actions. Fed. Civ. P. 23(e) (a class action “may be settled,

    voluntarily dismissed, or compromised only with the court’s approval”). “The

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    decision of whether to approve a proposed settlement of a class action is left to the

    sound discretion of the district court.” Krell v. Prudential Ins. Co. of Am., 148 F.3d

    283, 317 (3d Cir. 1998). But, as the Third Circuit has recognized, there is a “strong

    presumption” in favor of class action settlements, Ehrheart v. Verizon Wireless,

    609 F.3d 590, 594 (3d Cir. 2010), because of the “overriding public interest in

    settling class action litigation[.]” In re Warfarin Sodium Antitrust Litig., 391 F.3d

    516, 535 (3d Cir. 2004).

          Settling a class action involves a two-step approval process under Rule 23.

    In the first stage, preliminary approval, the Court needs to make a threshold

    determination that the settlement could be finally approved after a future fairness

    hearing and, if so preliminarily found, ordering notice to the Class in accordance

    with an approved notice plan. Fed. R. Civ. P. 23(e)(1). In the second phase, final

    approval, the Court must hold a fairness hearing to determine whether to approve

    the settlement and order its implementation. Fed. R. Civ. P. 23(e)(2).

          In considering whether to proceed forward with a settlement and authorize

    notice to the putative Class Members, Rule 23(e)(1), as amended, requires the

    Court to consider whether providing notice “is justified by the parties showing that

    the Court will likely be able to: (i) approve the proposal under Rule 23(e)(2); and

    (ii) certify the class for purposes of judgment on the proposal.” Fed. R. Civ. P.

    23(e)(1)(B). To ultimately approve the settlement, the Court must find that it is
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    “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). This fairness inquiry

    requires the Court to consider whether:

          (A) the class representative and class counsel have adequately represented

               the class;

          (B) the proposal was negotiated at arm’s length;

          (C) the relief provided for the class is adequate, taking into account:

                i.   the costs, risks, and delay of trial and appeal;

               ii.   the effectiveness of any proposed method of distributing relief to

                     the class, including the method of processing class-member claims;

              iii.   the terms of any proposed award of attorney’s fees, including

                     timing of payment; and

              iv.    any agreement required to be identified under Rule 23(e)(3); and

          (D) the proposal treats class members equitably relative to each other.

          For the reasons discussed below, this Court should approve the sending of

    notice to the Class because the settlement is “fair, reasonable, and adequate” and

    the certification of a settlement class is appropriate here.




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        A. The Parties are entitled to a presumption that the settlement is fair.

           The proposed settlement is entitled to a presumption of fairness because (1)

    the negotiations here occurred at arm’s length; (2) the parties engaged in extensive

    discovery; and (3) the proponents of the settlement are experienced in similar

    litigation. 6 See In re NFL Players Concussion Injury Litig., 821 F.3d 410 (3d Cir.

    2016) (citing In re Cendant Corp. Litig., 264 F.3d 201, 231, 232 n.18 (3d Cir.

    2001)).

           1. The proposed settlement is the product of good faith, extensive arm’s
              length negotiations.

           “Whether a settlement arises from arm’s length negotiations is a key factor

    in deciding whether to grant preliminary approval.” Turner v. NFL (In re NFL

    Players’ Concussion Injury Litig.), 301 F.R.D. 191, 198 (E.D. Pa. 2014). Courts in

    the Third Circuit have found the presumption of fairness applicable when a

    mediator assists the parties, In re CIGNA Corp. Sec. Litig., No. 02-8088, 2007 U.S.

    Dist. LEXIS 51089, *12 (E.D. Pa. July 13, 2007), and the mediation occurred over




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           In NFL, the Third Circuit cited an additional fourth requirement for
    triggering a presumption of fairness, i.e.- that “only a small fraction of the class
    objected.” Id. This requirement is not however part of the present preliminary
    evaluation analysis as notice to the Class has not yet been disseminated and no
    putative class members have had an opportunity to object or express an opinion to
    the Court.
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    several days, Gates v. Rohm & Haas Co., 248 F.R.D. 434, 439, 444 (E.D. Pa.

    2008).

          The parties to the proposed settlement participated in four, often contentious,

    rounds of settlement discussions ultimately leading to the present proposed

    settlement. The first occurred in 2015 with a session before Judge Phillips. The

    second round, also before Judge Phillips, spanned the entire summer of 2016

    before an impasse over material terms ended the negotiations. The third occurred

    in 2018 before Judge Dickson following Chief Judge Linares’ Order staying this

    matter in June 2018. And the fourth and final one, again took place before Judge

    Phillips in late 2018 and early 2019. In between all the rounds of mediation, the

    parties engaged in extensive discovery and pressed their legal positions through

    hard fought motion practice before the SDM and appeals of SDM decisions before

    the District Court.

          Based on his observations during the three rounds of mediation before him

    over three years, Judge Phillips found that “the parties vigorously asserted their

    respective positions on all material issues” and that these “discussions were often

    difficult, though both sides remained respectful and professional.” Exhibit B. Judge

    Phillips also explained that given his understanding of the proceedings before this

    Court, the Third Circuit and the Special Discovery Master, he is “satisfied that the

    positions of the parties were thoroughly advanced, explored, and defended
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    against.” Id. Judge Phillips further explained that “over the course of the three

    rounds of mediation, the proposed terms of the settlement changed substantially

    and were refined as the parties worked toward the common goal of achieving a

    fair, reasonable, and adequate settlement.” Id.

          2. Extensive discovery and proceedings before the Third Circuit,
             District Court, and Special Discovery Master preceded the
             settlement.

          This settlement was reached after the parties had engaged in lengthy and

    heated litigation, including Third Circuit review of the initial dismissal of the

    Action, from which each side (as well as the mediators) gained insight into and

    awareness of the others’ positions.

          In fact, the parties produced and reviewed hundreds of thousands of pages of

    documents and completed 28 depositions. 7 Counsel are thus well aware of the




    7
           With so much formal discovery, this Court should presume that the
    settlement is fair as the Third Circuit has found the presumption applicable in cases
    with far less discovery. For example, in NFL, objectors argued against applying the
    presumption of fairness because class counsel did not conduct formal discovery
    before reaching the settlement. NFL, 821 F.3d at 436. The district court rejected
    this argument, as did the Third Circuit. In explaining why, the Third Circuit
    recognized that class counsel had undertaken “significant informal discovery.” Id.
    “As part of that, class counsel obtained a database of claims and symptoms by
    retired players, consulted medical experts, and understood the legal hurdles
    claimants would face on dispositive issues such as preemption.” Id. The Third
    Circuit thus observed that class counsel “were aware of the strengths and
    weaknesses of their case.” Id. (internal citations omitted).
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    strengths and weaknesses of their respective cases. And for that reason, too, this

    Court should presume the settlement fair.

          3. The proponents of the settlement are experienced in similar
             litigation.

          Plaintiffs’ Counsel not only have decades of experience in complex

    litigation representing catastrophically injured clients and the families of deceased

    victims, but also have served in leadership roles and prosecuted modern mass tort

    cases involving breast implants, Vioxx, diet drugs, toxic chemical releases, talc,

    and other product liability cases. Exhibit BB, Firm Resume. CPR’s lawyers have

    also in the past and continue to represent governmental entities in major complex

    litigation matters involving suppression and misrepresentation claims, such as New

    Jersey’s tobacco litigation and Pennsylvania’s current MTBE gasoline release

    litigation. CPR has extensive asbestos injury and complex litigation practices.

    Indeed, Plaintiffs’ Counsel in a New Jersey state court case first developed the

    evidence that led to the filing of this Action.

       B. The complexity of these proceedings and advanced stage of litigation
          support approving the Settlement.

          Third Circuit jurisprudence requires that district courts consider two sets of

    factors in determining the fairness, adequacy, and reasonableness of a settlement:

    the Girsh nine-prong test and the Prudential considerations.



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          In Girsh v. Jepson the Third Circuit outlined nine factors to be considered in

    determining the fairness of a proposed class settlement:

          (1) the complexity, expense and likely duration of the litigation; (2)
          the reaction of the class to the settlement; (3) the stage of the
          proceedings and the amount of discovery completed; (4) the risks of
          establishing liability; (5) the risks of establishing damages; (6) the
          risks of maintaining the class action through the trial; (7) the ability of
          the defendants to withstand a greater judgment; (8) the range of
          reasonableness of the settlement fund in light of the best possible
          recovery; and (9) the range of reasonableness of the settlement fund to
          a possible recovery in light of all the attendant risks of litigation.
    521 F.2d 153, 157 (3d Cir. 1975).

          Following Girsh, the Third Circuit determined that a “sea-change [had

    occurred] in the nature of class actions,” and thought it useful to expand on Girsh

    to include several permissive, non-exhaustive factors (the so called “prudential”

    factors or considerations):

          (1) the maturity of the underlying substantive issues, as measured by
          experience in adjudicating individual actions, the development of
          scientific knowledge, the extent of discovery on the merits, and other
          factors that bear on the ability to assess the probable outcome of a trial
          on the merits of liability and individual damages; (2) the existence and
          probable outcome of claims by other classes and subclasses; (3) the
          comparison between the results achieved by the settlement for
          individual class or subclass members and the results achieved—or
          likely to be achieved—for other claimants; (4) whether class or
          subclass members are accorded the right to opt-out of the settlement;
          (5) whether any provisions for attorneys’ fees are reasonable; and (6)
          whether the procedure for processing individual claims under the
          settlement is fair and reasonable.




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    In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d 283,

    311, 323 (3d Cir. 1998). Unlike the Girsh factors, “the Prudential considerations

    are just that, prudential.” In re Baby Prods. Antitrust Litig., 708 F.3d 163, 174 (3d

    Cir. 2013).

          These factors support approving a settlement here, especially in light of the

    complexity of this case, its advanced discovery, the significant challenges inherent

    in further litigation, and the size of the Settlement Fund.

          1. Complexity, Expense, and Likely Duration of the Litigation.

          “The first [Girsh] factor captures the probable costs, in both time and

    money, of continued litigation.’” Warfarin, 391 F.3d 535-36 (quoting In re

    Cendant Corp. Litig., 264 F.3d 201, 233 (3d Cir. 2001)).

          In NFL, the Third Circuit recognized that the probable costs of litigation

    were significant and supported approving the settlement because with “[o]ver

    5,000 retired NFL players in the MDL alleg[ing] a multi-decade fraud by the

    NFL,” litigating the claims “would have been an enormous undertaking.” NFL,

    821 F.3d at 438. In that regard, the Third Circuit noted that the discovery needed to

    prove the “fraudulent concealment of risks of concussions was extensive” and that

    the District Court would need to resolve “many issues of causation and medical

    science.” Id.



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          As in NFL, this matter involves thousands of putative Class Members and

    allegations that stretch back many years. To date, the prosecution of this matter has

    involved an enormous undertaking with the filing of three complaints, several

    motions to dismiss, an appeal to the Third Circuit, the appointment of a SDM to

    oversee discovery, nearly 50 discovery motions, seven days of oral argument

    before the SDM, the exchange of over 300 pieces of meet-and-confer

    correspondence, the review and production of hundreds of thousands of pages of

    documents, and 28 fact depositions. And absent the proposed settlement,

    significantly more expert and fact discovery would remain before the Court could

    reach any decision on Plaintiffs’ motion for class certification and Defendants’

    motions for summary judgment. In view of this history, further litigation will be

    very costly and only increase the risks to all the parties.

          Moreover, if the Court denies this Motion for Preliminary Approval,

    Plaintiffs expect that the Court would need to resolve the appeal of the SDM’s

    decision on Science Day, Plaintiffs’ crime-fraud motion, Plaintiffs’ and

    Defendants’ appeals of the SDM’s other discovery and attorney-client privilege

    rulings as well as other complex issues. In addition, given the prior course of the

    litigation, it is reasonable to anticipate appeals by the losing party to the Third

    Circuit regarding many or all those decisions. Expert discovery would also need to

    proceed. And there would eventually be dispositive motion practice and,

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    potentially, trial. See, e.g., Lipuma v. Am. Express Co., 406 F. Supp. 2d 1298, 1322

    (S.D. Fla. 2005) (the potential that appellate proceedings could delay class

    recovery “strongly favor[s]” approval of the settlement). All in all, guided by the

    lengthy and intense history of this litigation to date, the complexity, expense, and

    likely duration of this litigation amply supports approval.

          2. Reaction of the Class to the Settlement.

          The second Girsh factor requires that the Court “‘gauge whether members of

    the class support the settlement.’” Warfarin, 391 F.3d at 536 (quoting Prudential,

    148 F.3d at 318). At this stage of the proceedings—i.e., preliminary approval—

    formal notice of the settlement has not yet been disseminated, and this factor

    therefore cannot be assessed.

          However, Plaintiffs expect a positive reaction to this proposed Settlement.

    The proposed Settlement Agreement would fairly and adequately compensate these

    putative Settlement Class Members, with virtually all putative Settlement Class

    Members receiving multiples of the compensation they had received from other

    talc defendants. The proposed Plan of Distribution allocates compensation based

    on the severity of the claimants’ injuries, along with providing an extraordinary

    injury fund for mesothelioma cases that warrant, in the Settlement Trustee’s

    discretion, an additional compensation award where specified criteria are met.



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          3. Stage of the Proceedings and Amount of Discovery Completed.

          “The third Girsh factor ‘captures the degree of case development that class

    counsel [had] accomplished prior to settlement.” Warfarin, 391 F.3d at 537

    (quoting Cendant, 264 F.3d at 235). As the Third Circuit has explained, “[t]hrough

    this lens, courts can determine whether counsel had an adequate appreciation of the

    merits of the case before negotiating.” Id.

          In Warfarin, the Third Circuit found that class counsel adequately

    appreciated the merits of the case before negotiating the settlement when there had

    been three years of litigation, discovery of hundreds of thousands of pages of

    documents, many depositions, and consultations with experts. Id. The same

    appreciation can and should be found here.

          As in Warfarin, Plaintiffs’ Counsel have completed a substantial amount of

    discovery and consulted with experts. They have reviewed hundreds of thousands

    of pages of documents and taken and defended numerous depositions of party and

    third-party witnesses. Among other things, this discovery included the review of

    Representative Plaintiffs’ files and a sampling of putative class members’ file

    materials, testing data and documents from the Westfall litigation, 8 BASF’s


    8
     The first case against Engelhard alleging asbestos-related injury from exposure to
    Emtal Talc was filed in 1979 by the Estate of Thomas Westfall. In that
    mesothelioma case, several Engelhard scientists testified about test results that
    Plaintiffs allege suggested that Emtal Talc contained asbestos.
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    extensive document production, litigation files and other documents produced by

    Cahill, documents produced by Engelhard’s insurers, and the files of several law

    firms that represented plaintiffs in the Underlying Lawsuits, including Bevan &

    Associates, LPA (“Bevan Law Firm”), Early, Lucarelli, Sweeney & Meisenkothen

    LLC (“Early Law Firm”) and The Law Firm of Allen L. Rothenberg. Discovery

    also included depositions of the individually named Plaintiffs, counsel for various

    plaintiffs in the Underlying Lawsuits, BASF’s local counsel in the Underlying

    Lawsuits, current and former employees of BASF and Cahill, and designated

    representatives of BASF and Cahill. Plaintiffs moreover have filed appeals with

    both this Court and the Third Circuit, briefed issues on class certification and

    crime-fraud, and produced expert reports. So, just as the Third Circuit found in

    Warfarin, this Court should find that Plaintiffs’ Counsel adequately appreciated the

    merits of this case before negotiating the proposed Settlement Agreement.

    C.    Risks to continued litigation also support approving the Settlement.

          “The fourth and fifth Girsh factors survey the possible risks of litigation in

    order to balance the likelihood of success and the potential damage award if the

    case were taken to trial against the benefits of an immediate settlement.”

    Prudential, 148 F.3d at 319. While Plaintiffs are confident in the strength of their

    case, they are also pragmatic, especially considering the zealous defense which

    Defendants have mounted since day one of this Action. As such, Plaintiffs are

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    sensitive to the risks inherent in this complex litigation. Some of these risks are

    discussed below.

          1. The availability of witnesses at trial.

          Plaintiffs’ claims face significant risk because the named Plaintiffs

    themselves lack personal knowledge to support certain necessary elements of their

    claims. Plaintiffs’ allegations turn on the positions taken in Underlying Lawsuits

    that were concluded decades ago. The named Plaintiffs, all of whom are non-

    lawyers and some of whom are only heirs to the plaintiffs in the Underlying

    Lawsuits, thus have little personal knowledge of their decedents’ communications

    with their lawyers and defenses raised by Engelhard. See, e.g., Exhibit W (4/5/17

    Holley Dep. Tr.) at 14:24–15:1 (“[D]o you have any personal knowledge of

    representations made to your mother about talc? A. I have no personal knowledge

    of that.”); Exhibit Y (4/5/18 Williams Dep. Tr.) at 28:16-23 (explaining that her

    understanding of the underlying suit comes from her deceased husband’s lawyer);

    see also id. at 30:21-24 (“It’s been so long ago, originally, you know, many, many

    years ago when this whole thing started. I don’t recall a lot.”).

          Plaintiffs have accordingly relied on lawyers, including Thomas Bevan, an

    Ohio attorney, who brought a substantial number of the Underlying Lawsuits,

    including those on behalf of several named Plaintiffs, and Mark Bibro, a New York

    attorney who represents another named Plaintiff to substantiate their allegations.


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    See Exhibit H, 1/15/18 Hr’g Tr. at 132:21–133:3 (“SPECIAL MASTER: What are

    you going to do at trial, produce a plaintiff that says I don’t know? MR. ROTH:

    Yes, your Honor. . . and we’re going to have their family’s lawyer testify and

    describe what happened.”); Exhibit I, 10/23/15 Pls.’ Initial Disclosures (“[Mr.

    Bevan] has knowledge of the involuntary dismissal of his clients’ claims due to

    defendants’ . . . material omissions concerning Emtal talc.”); Exhibit J, 1/29/18 M.

    Holley Supplemental Resp. to BASF Interrog. No. 12, Set 1 (“The Bevan Law

    Firm would likely know more about this evidence.”).

          However, Defendants raise many challenges to the lawyers’ testimony. For

    example, Mr. Bevan testified at deposition that he had little personal knowledge of

    the class-wide spoliation allegations apart from what he read in the Williams

    complaint, see Exhibit V, (5/15/18 Bevan Dep. Tr.) at 193:21–194:5. Although Mr.

    Bevan has portions of old files relating to these claims, his ability to verify that he

    had complete files about the Underlying Lawsuits was limited. Discovery from

    other lawyers representing plaintiffs in Underlying Lawsuits confirmed, given the

    age of the cases, that they too cannot produce complete files of their cases.

    Defendants have also challenged Plaintiffs’ ability to prove their decisions were

    the result of fraud. Mr. Bevan acknowledged at deposition that he continued to file

    asbestos injury claims against Engelhard even after having concluded, based upon




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    evidence provided by the Defendants, that there was no asbestos in Emtal talc.

    5/15/18 Bevan Dep. Tr. 139:13–141:25.

          2. Defenses relating to Underlying Lawsuits.

          Plaintiffs’ “potential damage award if the case were taken to trial,”

    Prudential, 148 F.3d at 319, may also face risk on account of the strength of

    Engelhard’s defenses in the Underlying Lawsuits. Although the parties disagree as

    to the relevance of these defenses in a fraud/fraud concealment action, prior

    opinions in this case have recognized that, in order to prove their fraudulent

    concealment claims, “Plaintiffs must prove that decisions were made in the

    underlying case that would have been different if they had known evidence had

    been destroyed[.]” See Williams, 2017 U.S. Dist. LEXIS 122053, *28.

          While Plaintiffs believe that they do not have to prove in a fraudulent

    concealment case that they would have won their Underlying Lawsuits, Defendants

    pointed to potential weaknesses in the Underlying Lawsuits 9 as a way of

    attempting to show that the plaintiffs’ decisions in those cases would have been the

    same no matter what. For example, Defendants have pointed out that many

    underlying litigants, despite filing lawsuits against Engelhard, lacked evidence of

    exposure to Emtal Talc. Named Plaintiff Holley’s decedent, for example, did not


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         See, e.g., Williams, 765 F.3d at 321; Tartaglia v. UBS PaineWebber, Inc.,
    961 A.2d 1167, 1190 (N.J. 2008).
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    “know the brand name, manufacturer, distributor or supplier” of any talc products

    she was allegedly exposed to. Exhibit W (4/5/17 Holley Dep. Tr.) at 121:11-15.

    Other Named Plaintiffs’ cases had similar exposure issues. See Exhibit X, (3/12/18

    Wengerd Dep. Tr.) at 287:13-22 (“Q. So in your mother’s original case, she

    identified Vanderbilt as the company whose talc she was exposed to, correct?

    [Objection] A. Yes. Q. No mention of EMTAL talc there? [Objection] A.

    Correct.”); Exhibit Y, (4/5/18 G. Williams Dep.) at 41:7-11 (acknowledging that

    she had “no understanding of whether [her] father was exposed to talc from

    Southern Talc or Georgia Talc or Vanderbilt talc or EMTAL talc.”); Exhibit Z,

    (4/17/18 Ware Dep. Tr. 48:2-17) (acknowledging that based on sales records, her

    decedent’s employer had purchased only three bags of talc over a 30-year period).

    Other litigation defenses, including class members’ lack of proof of asbestos-

    related disease, alternative causes of the disease (history of exposure to raw

    asbestos, not just talc, for example), and jurisdictional, statute of limitations, or

    other various arguments, could also have been—and were—raised by Defendants.

          The potential weaknesses in the Underlying Lawsuits also extend to how

    those matters were settled. In particular, many class members’ suits were dismissed

    after mass group settlements that did not distinguish between defendants having

    asbestos in their talc and defendants not having asbestos in their talc. See, e.g.,

    Exhibit V, T90:21–91:1, 103:21–104:3, 303:6-22 (discussing group settlements);

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    Exhibit W, T113:25–114:3 (“Q. But you know now that Southern Talc Company

    was one of the seven defendants that settled with your mother’s estate for $2,000,

    correct? A. Yes. Q. Even though Southern Talc was known by Mr. Bevan to have

    asbestos in its talc, correct? A. Yes.”). This practice—treating talc manufacturers

    alike, regardless of whether their products were known to contain asbestos—could

    undermine Plaintiffs’ ability to show that but for the alleged conduct, class

    members’ decisions would actually “have been different”—as the Court had

    indicated would be necessary in order to hold Defendants liable on Plaintiffs’

    fraudulent concealment claims.

          3. Establishing Damages.

          Defendants also challenged the legal basis for recovering damages on a class

    wide basis. The SAC proposed to recover class wide damages on a theory of

    disgorgement, including disgorgement of “(a) the fees that Engelhard/BASF paid

    to Cahill,” and “(b) savings in liability and settlement payments, attorneys’ fees,

    other defense costs and expenses Engelhard/BASF realized” as a result of alleged

    wrongdoing in those litigations. See Exhibit J (1/29/18 Pls.’ Interrogatory

    Answers), at 11.

          Establishing these damages, however, would have required overcoming

    legal challenges and factual obstacles. First, while Plaintiffs continue to believe




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    that disgorgement damages would be available against all Defendants, 10 the

    Defendants have argued that disgorgement is “a form of [r]estitution measured by

    the defendant’s wrongful gain.” Kokesh v. S.E.C., 137 S. Ct. 1635, 1640 (2017). In

    Defendants’ view, Engelhard experienced no “gain” here, where it only paid

    money to someone else (Cahill) during these lawsuits. On the other hand, Plaintiffs

    believe that Engelhard saved the cost of defense and liabilities it would have had to

    pay in the Underlying Lawsuits if the allegedly hidden evidence about Engelhard

    had been known. Cahill also argued that it did not gain anything from its alleged

    wrongdoing and could not be held responsible for disgorgement damages.

    Plaintiffs, however, believe at a bare minimum that Cahill could be held liable to

    the extent of its received legal fees and other damages based on the Defendants’

    joint activities. Resolution of these complex and novel legal issues would have

    demanded extensive effort and time, and there is no assurance that Plaintiffs’ legal

    theories would have been upheld.




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      See, e.g., Zippertubing Co. v. Teleflex Inc., 757 F.2d 1401, 1411–12 (3d Cir.
    1985) (“when one has unlawfully deprived another of a contract or a business
    opportunity and has made the opportunity his own, he is not to be permitted to
    retain any of the profits, any of the benefits of his unlawful conduct.”); County of
    Essex v. First Union Nat’l Bank, 89 A.2d 600, 607 (N.J. 2006); Platinum Mgmt.,
    Inc. v. Dahms, 666 A.2d 1028 (N.J. Law Div. 1995); Restatement (Third)
    Restitution and Unjust Enrichment § 51 (2011).
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          Second, even if Plaintiffs were to prevail and establish that disgorgement is

    available here as a matter of law, the parties remained engaged in difficult debate

    over how much money Engelhard actually saved in the Underlying Lawsuits, or

    whether that number would even be ascertainable. As noted above, many cases

    against Engelhard ended in mass settlements with multiple talc manufacturers, with

    payments from those manufacturers being the same whether their products were

    known to contain asbestos or not. Defendants argue that fact suggests that

    Engelhard’s alleged denial of evidence of asbestos might not have actually saved it

    much money in legal fees or otherwise and that disgorgement damages could thus

    be hard to prove at trial.

          Plaintiffs sought discovery about Engelhard’s highest, lowest, and average

    Emtal talc expenditures and defense costs for each year of underlying talc

    litigation, see Exhibit J (Pls.’ Interrogatories Numbers 9, 10, 11), but the SDM

    agreed with BASF that the extraordinary difficulty of calculating these long-ago

    figures would be “unduly burdensome.” See Dkt. No. 534 (5/25/18 Order) at 3. He

    ordered Plaintiffs to share the costs of developing this information. Id. at 3-4,

    Plaintiffs objected to the cost sharing and the SDM denied their motion to compel,

    see CM/ECF # 565 (6/12/18 Order) at 6-7. Plaintiffs filed an appeal before that

    second order was issued, see CM/ECF # 562, and have contended that the first

    cost-sharing order was wrongly decided and that the second denial order should be

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    considered moot on account of the appeal, which remains pending. But in any

    event, these issues—no matter how they were to ultimately be decided—illustrate

    the continuing burden and risks Plaintiffs could endure in developing their damage

    arguments and marshalling the facts necessary to support them at trial.

          4. Ascertaining the Proposed Class.

          Defendants also challenged the ability of Plaintiffs to ascertain and identify

    members of the proposed class, a prerequisite to class certification over

    Defendants’ objections. Many of the original complaints in the Underlying

    Lawsuits had very terse allegations against Engelhard that lacked reference to

    Emtal Talc and instead contained boilerplate recitations of non-specific personal

    injury claims against dozens of defendants. Defendants point to discovery in this

    case that in their view shows that documentation supporting the Class Members’

    underlying claims against Engelhard at the time they were dismissed was thin or

    non-existent. Moreover, it is unclear how such proofs would be reconstructed

    today, if they existed in the first place. Consequently, Plaintiffs faced significant

    risks to a contested class certification from this lack of verifiable evidence.

          By agreeing to the settlement, however, Plaintiffs no longer face these risks,

    because Plaintiffs and Defendants have agreed to establish eligibility standards that

    will allow the Settlement Administrator to determine class membership using

    readily available, objective criteria. These eligibility standards ensure that the


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    Settlement Class is ascertainable while providing significant safeguards against

    fraudulent and erroneous claims.

          5. “Science Day” And The Emtal Talc Testing Record.

          Defendants argue that Plaintiffs’ allegations turn in part on alleged

    concealment of test results that Plaintiffs believe show Emtal Talc contained

    asbestos and that a Science Day is needed to assess the validity of these test results.

    The Court denied their first request for a Science Day. CM/ECF # 261. Defendants

    continued to challenge Plaintiffs’ view of what the underlying testing revealed

    arguing that a Science Day could be relevant to showing the absence of fraudulent

    intent. Defendants therefore asked the SDM to hold a “Science Day” and hear

    expert testimony on the matter. Defendants’ request was a subject of considerable

    disagreement between the parties—Plaintiffs argued before the SDM that expert

    testimony on the testing record is not relevant to the merits of a fraud and

    fraudulent concealment case, the issue being whether evidence was concealed, not

    the weight of that evidence. The SDM, however, eventually came to believe that

    scientific testimony would be relevant to the case and to his decision on Plaintiffs’

    pending motion to invoke the crime-fraud exception to BASF’s attorney-client

    privilege. See Exhibit AA (2/23/18 Hr’g Tr.) at 121:12-13 (“SPECIAL MASTER:

    … I don’t know, nor have I been given the type of expert information I would need




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    in order to judge whether X number of fibers per million is a good thing or a bad

    thing.”).

          Over Plaintiffs’ objections, the SDM scheduled a Science Day hearing,

    calling for expert testimony on topics including “the overall testing record

    concerning Emtal talc to determine whether and to what extent it contained

    asbestos,” and “the relevant capabilities and limitations of the testing methods then

    used by BASF (and its predecessors),” among others. See CM/ECF # 485 (4/23/18

    Order) at 3. Plaintiffs filed an appeal of this order, see CM/ECF # 506, and the

    parties continue to disagree over whether the requested testimony would be

    relevant, with Plaintiffs believing that it would be immaterial. The Science Day

    order, however, again illustrates the risks and costs Plaintiffs could face in further

    litigating these complex proceedings, which Defendants believe could turn in part

    on complicated issues of state of mind, as informed by scientific understanding and

    capabilities from a different time.

                                          *    *      *

          In sum, although Plaintiffs are confident in the strength of their case, they

    are aware that protracted litigation carries inherent risks that would delay and

    potentially endanger the monetary recovery of the putative Class Members. At the

    same time, if the Court approves the proposed Settlement Agreement, Plaintiffs

    and the putative Class Members would receive immediate and substantial relief.

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    Similarly, although litigation classes can sometimes be decertified when they prove

    unmanageable, see Krell, 148 F.3d at 321, manageability risks are greatly reduced

    in the settlement context, where “a district court need not inquire whether the case

    if tried, would present intractable management problems[,] . . . for the proposal is

    that there be no trial.” NFL, 821 F.3d at 440 (quoting Prudential, 148 F.3d at 321).

    Consequently, considering this Settlement’s great and immediate value against the

    uncertain litigation road ahead thus weighs strongly in favor of approving the Class

    Action Settlement proposed here under the fourth and fifth Girsh factors.

    D.     Other factors also support approving the Settlement.

           1. Ability of Defendants to Withstand a Greater Judgment.

           “The seventh Girsh factor is most relevant when the defendant’s professed

    inability to pay is used to justify the amount of the settlement.” NFL, 821 F.3d at

    440.

           With respect to Cahill, its and its named members’ ability to withstand a

    class action judgment involving thousands of claims is significantly tied to its

    insurance coverage. Under the circumstances of this case, there are coverage issues

    and limits associated with Cahill’s insurance. Cahill has however represented to

    Plaintiffs that its insurance carriers support the settlement, and that there is no issue

    about Cahill’s ability to fund its share of the Settlement.



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          With respect to BASF, as the Third Circuit has recognized, “in any class

    action against a large corporation, the defendant entity is likely to be able to

    withstand a more substantial judgment, and, against the weight of the remaining

    factors, this fact alone does not undermine the reasonableness of the settlement.”

    Id. (quoting Sullivan v. DB Invs., Inc., 667 F.3d 273, 323 (3d Cir. 2011)). Indeed,

    as this Court has recognized, even if a company “could afford a greater amount

    than the settlement would require, that doesn’t support ‘rejecting an otherwise

    reasonable settlement.’” Halley v. Honeywell Int’l, No. 10-3345, 2016 U.S. Dist.

    LEXIS 55765, *40 (D.N.J. April 26, 2016) (Salas, J.) (quoting Saini v. BMW of N.

    Am., LLC, No. 12-6105, 2015 U.S. Dist. LEXIS 66242, *26 (D.N.J. May 21,

    2015)).

          The seventh Girsh factor is thus of no moment here.

          2. Range of Reasonableness of the Settlement in Light of the Best
             Possible Recovery and All Attendant Risks of Litigation.

          As to the eighth and ninth Girsh factors, courts ask “whether the settlement

    represents a good value for a weak case or a poor value for a strong case.”

    Warfarin, 391 F.3d at 538. “The factors test two sides of the same coin:

    reasonableness in light of the best possible recovery and reasonableness in light of

    the risks the parties would face if the case went to trial.” Id. “[T]he present value of

    the damages plaintiffs would likely recover if successful, appropriately discounted


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    for the risk of not prevailing, should be compared with the amount of the proposed

    settlement.” Prudential, 148 F.3d at 322. The settlement moreover must be judged

    “against the realistic, rather than theoretical potential for recovery after trial.”

    Sullivan, 667 F.3d at 323. And in conducting the analysis, the court must “guard

    against demanding too large a settlement based on its view of the merits of the

    litigation; after all, settlement is a compromise, a yielding of the highest hopes in

    exchange for certainty and resolution.” In re GMC Truck Fuel Tank Prods. Litig.,

    55 F.3d 768, 806 (3d Cir. 1995).

          The proposed settlement here is certainly “reasonable … in light of the best

    possible recovery and … in light of the risks the parties would face if the case went

    to trial,” Warfarin, 391 F.3d at 538, particularly given that discovery revealed

    many Settlement Class Members settled with other talc defendants (including those

    whose products were known to contain asbestos) for as little as $3,000 for a

    mesothelioma claim, $2,000 for a lung cancer claim, and $1,000 for an asbestosis

    claim. In ascertaining the reasonableness of the settlement amount in this matter,

    the Parties considered claims data from asbestos settlement trusts to determine

    credible estimates of the incidence rates of various asbestos diseases and

    compensation paid by disease level. Based on this review, the Parties were aware

    of the potential range of claim values in the Underlying Lawsuits and the losses

    allegedly sustained by the members of the putative Settlement Class as a result of

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    the dismissal of their cases. This analysis, in conjunction with the Parties’

    consideration of the litigation risks identified above, provided a framework for

    settlement discussions. With the guidance of Judge Dickson and Judge Phillips, the

    Parties, as part of the proposed Settlement Agreement, mutually agreed to the

    creation of a non-reversionary $72.5 million Settlement Fund.

          Plaintiffs also turned to Verus, the leading Section 524(g) asbestos trust

    claims administrator in the asbestos bankruptcy field, to assist Plaintiffs in

    developing the Plan of Distribution, which compensates Settlement Class Members

    based on four different asbestos disease levels. The monetary awards to the

    putative Settlement Class Members, as a result, take into account and reflect the

    values of the alleged injuries that had been at issue in the Underlying Lawsuits,

    which Plaintiffs allege were fatally compromised as a result of the alleged

    fraudulent concealment of the facts regarding Emtal Talc.

          The Class Action Settlement accordingly affords members of the putative

    Settlement Class with immediate compensation that provides them with a fair

    value for their claims considering the significant risks Class Members may have in

    establishing all the elements of fraud and fraudulent concealment.

          3. Prudential Factors.

          Third Circuit jurisprudence also requires that district courts consider the

    Prudential factors in assessing the reasonableness of class settlement. These are (1)
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    the maturity of the underlying substantive issues in the case and other factors that

    “bear on the ability to assess the probable outcome of a trial on the merits,” (2) the

    “existence and probable outcome of claims by other classes and subclasses,” (3)

    the comparison between the results achieved by settlement and the results likely to

    be achieved for other claimants, (4) whether class members have the right to opt-

    out of the settlement, (5) whether any provisions for attorneys’ fees are reasonable,

    and (6) whether the procedure for processing individual claims under the

    settlement is fair and reasonable. In re Prudential Ins. Co. Am. Sales Practice

    Litig. Agent Actions, 148 F.3d 283, 311, 323 (3d Cir. 1998). The relevant

    Prudential factors weigh in favor of approving the Settlement in this case.

          First, given the maturity of the underlying substantive issues and discovery

    in this case, the Parties possess adequate information concerning the strengths and

    weaknesses of Plaintiffs’ claims, and thus the probable outcome of a trial on the

    merits. Counsel here thoroughly investigated the claims raised in the Complaints,

    conducted extensive document discovery, took 28 depositions, and exchanged

    information during negotiation and mediation sessions. Notably, the parties only

    reached settlement terms following the close of fact discovery. Moreover,

    Plaintiffs’ counsel not only retained various experts and other professionals to

    serve as experts in this matter, but also served expert reports on the subjects of

    causation and damages. The case proceeded against the backdrop of decades of

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    asbestos litigation. Given the advanced stage of discovery in this case, the first

    Prudential factor is thus more than satisfied. See, e.g., In re Cendant Corp. Litig.,

    264 F.3d 201, 235-36 (3d Cir. 2001) (affirming approval of settlement even though

    litigation was “settled at an early stage” after only “informal” discovery).

          Second, there are no other classes or subclasses and as such, this factor is not

    relevant to these proceedings.

          Third, with respect to the results achieved by the settlement for individual

    class or subclass members and the results achieved for other claimants, Plaintiffs

    submit that this factor favors approval of the Settlement as well given that

    Settlement Class Members stand to receive substantial compensation that is, in

    some cases, orders of magnitude higher than what similarly situated plaintiffs

    recovered in their Underlying Lawsuits against other talc defendants.

          Fourth, the proposed Settlement Agreement accords members the right to

    opt out of the settlement. NFL, 821 F.3d at 441.

          Fifth, “[w]hether any provisions for attorney’s fees are reasonable is a

    neutral factor because Class Counsel have not yet moved for a fee award.” Turner,

    307 F.R.D. at 396. Under the Settlement Agreement, the Defendants have agreed

    not to oppose Class Counsel’s Fee and Costs Petition not to exceed $22.5 million

    and $1.5 million respectively, which will be filed for the Court’s consideration


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    before the Fairness Hearing and entry of the Final Approval Order. Further, the

    Court retains jurisdiction of the case after the Final Approval Order and throughout

    the execution of the Plan of Distribution so it can address the reasonableness of

    fees that may subsequently be claimed by non-class counsel if that issue should

    arise.

             Sixth, the procedure for processing individual claims under the settlement is

    fair and reasonable. For instance, required proof of disease and disease level for

    injury level-based compensation (called a Part B claim in the Plan of Distribution)

    may be established through a certification of a disease adjudication from one of

    several designated asbestos trusts, which the claims administrator will obtain on

    request. The audit process contains appropriate and adequate protections against

    fraud, allowing certifications only from those trusts that themselves maintain

    reliable anti-fraud standards. All in all, the claims process is fair, relatively simple

    (in comparison to litigation), and familiar to the asbestos claimant bar.

             For these reasons, other than two neutral factors, all the Prudential factors

    support approval of the proposed Settlement Agreement.

       C. The Court should conditionally certify the Settlement Class.

             Plaintiffs request that the Court conditionally certify the Settlement as set

    forth in the Settlement Agreement.



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          When confronted with a request for a settlement-only class certification, “a

    district court need not inquire whether the case if tried, would present intractable

    management problems . . . for the proposal is that there will be no trial.” In re

    Warfarin Sodium Antitrust Litig., 391 F.3d 516, 529 (3d Cir. 2004). A court should

    certify a settlement-only class where: “(1) the class is so numerous that joinder of

    all members is impracticable; (2) there are questions of law and fact common to

    the class; (3) the claims or defenses of the representative parties are typical of the

    claims or defenses of the class; and (4) the representative parties will fairly and

    adequately protect the interests of the class.” Fed. R. Civ. P. 23(a).

          Once satisfied that the requirements of Rule 23(a) are met, the Court must

    then look to Rule 23(b) for more prerequisites. Under that provision, the

    certification of a class seeking monetary compensation requires a showing that

    “questions of law and fact common to class members predominate over any

    questions affecting only individual members, and that a class action is superior to

    other available methods for fairly and efficiently adjudicating the controversy.”

    Fed. R. Civ. P. 23(b)(3).

          In conducting a “rigorous analysis” of the “factual and legal allegations”

    underpinning this request for certification, Comcast v. Behrend, 569 U.S. 27, 33

    (2013), this Court can and should find that each of the requirements of Rule 23(a)

    and (b)(3) are easily met for the proposed Settlement Class.
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          1.     Numerosity.

          Rule 23(a)(1) sets forth what is commonly known as the “numerosity”

    requirement. The “numerosity requirement is satisfied when ‘the class is so

    numerous that joinder of all members is impracticable.’” In re Modafinil Antitrust

    Litig., 837 F.3d 238, 249 (3d Cir. 2016) (quoting Fed. R. Civ. P. 23(a)(1)). This

    “calls for an inherently fact-based analysis.” Id. at 249–250 (citing Stewart v.

    Abraham, 275 F.3d 220, 226–227 (3d Cir. 2001)). In the Third Circuit, the

    numerosity requirement is generally met if “the potential number of plaintiffs

    exceeds 40[.]” Id.

          The numerosity requirement is easily satisfied here as there are thousands of

    putative Class Members connected with the Underlying Lawsuits which meet the

    class definition based on the Bevan Law Firm’s Emtal Talc cases alone. Based on

    an analysis by Verus LLC, the proposed claims administrator, of litigation

    documents produced in discovery by Defendants, Engelhard’s insurers and the

    Bevan Law Firm, in which parties named in Underlying Lawsuits are matched to

    Verus’ asbestos claims database and TransUnion LLC’s proprietary database,

    Plaintiffs estimate that there are somewhere between approximately 7,500 to 8,500

    physically injured asbestos plaintiffs who filed Underlying Lawsuits against BASF

    during the class period. Adding to this class population of primary claimants are

    spouses and wrongful death/survival claim derivative plaintiffs who over the years

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    sued Engelhard/BASF based on a physically injured person’s injury (“Derivative

    Claimants”).

          In view of these numbers, joinder of all parties would be impracticable, thus

    satisfying Rule 23(a)(1).

          2.       Commonality.

          The second prong of Rule 23(a)—commonality—requires “consideration of

    whether there are ‘questions of law or fact common to the class[.]” Reyes v.

    Netdeposit, LLC, 802 F.3d 359, 482 (3d Cir. 2015) (citing Fed. R. Civ. P.

    23(a)(2)). “A putative class satisfies Rule 23(a)’s commonality requirement if the

    named plaintiffs share at least one question of fact or law with the grievances of

    the prospective class.” Id. (quoting Rodriguez v. Nat’l City Bank, 726 F.3d 372,

    382 (3d Cir. 2013)). The court’s focus must be “on whether the defendant’s

    conduct [is] common as to all class members[.]” Sullivan v. DB Invs., Inc., 667

    F.3d 273, 298 (3d Cir. 2011) (emphasis added). And that “bar is not a high one.”

    Reyes, 802 F.3d at 486 (quoting Rodriguez, 726 F.3d at 382). The Third Circuit has

    “acknowledged commonality to be present even when not all plaintiffs suffered an

    actual injury, when plaintiffs did not bring identical claims, and, most dramatically,

    when plaintiffs’ claims may not have been legally viable[.]” Id.

          The commonality requirement is easily satisfied here. Questions and

    answers surrounding the asbestos content of Emtal Talc, the knowledge of

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    Defendants, what Defendants represented to plaintiffs in the Underlying Lawsuits,

    the legal obligation of Defendants to disclose the evidence of asbestos in Emtal

    Talc, and whether Defendants concealed such evidence as alleged in the SAC are

    common to Plaintiffs and the putative members of the Settlement Class.

          The Court should therefore find the commonality requirement met as

    Defendants allegedly injured the putative Settlement Class Members through the

    “same course of conduct.” See NFL, 821 F.3d at 427 (finding that the commonality

    requirement satisfied because “the NFL Parties allegedly injured retired players

    through the same course of conduct.”). Indeed, even if the members of the

    Settlement Class sustained different degrees of bodily injury, their claims for fraud

    and fraudulent concealment nevertheless “still depend on the same questions

    regarding” Defendant’s conduct. Id. And with that being the case, the commonality

    requirement is satisfied here.

          3.     Typicality.

          Rule 23(a)(3) requires that the claims of representative plaintiffs be “typical

    of the claims...of the class.” In evaluating typicality, courts ask “whether the

    named plaintiffs’ claims are typical, in common-sense terms, of the class, thus

    suggesting that the incentives of the plaintiffs are aligned with those of the class.”

    Baby Neal v. Casey, 43 F.3d 48, 55 (3d Cir. 1994). The purpose of that inquiry is



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    “to uncover conflicts of interest between named parties and the class they seek to

    represent.” In re Prudential, 148 F.3d at 312.

          The Third Circuit has “set a ‘low threshold’ to meet typicality.” NFL Players

    Concussion Injury Litig., 821 F.3d 410, 428 (3d Cir. 2016) (quoting Newton, 259

    F.3d at 183). The typicality requirement “does not mandate that all putative class

    members share identical claims.” Newton, 259 F.3d at 184. To the contrary, the

    class still passes muster even if the class members’ injuries vary. NFL Players

    Concussion, 821 F.3d at 428.

          The inquiry into typicality “focuses on the similarity of the legal theory and

    legal claims; the similarity of the individual circumstances on which those theories

    and claims are based; and the extent to which the proposed representative may face

    significant unique or atypical defenses to her claims.” In re Schering Plough Corp.,

    589 F.3d 585, 597–98 (3d Cir. 2009). Moreover, the typicality analysis focuses on

    the conduct of the defendants, not that of the class representatives. In re IGI Secs.

    Litig., 122 F.R.D. 451, 456 (D.N.J. 1988). Thus, “factual differences will not

    render a claim atypical if the claim arises from the same event or practice or course

    of conduct that gives rise to the claims of the class members, and if it is based on

    the same legal theory.” Baby Neal, 43 F.3d at 58.

          The claims of the Representative Plaintiffs typify those of the putative

    Settlement Class Members. The Representative Plaintiffs represent six deceased
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    Emtal claimants (“Decedents”), each of whom, had sued Engelhard or BASF for

    asbestos-injury. As a result, Defendants’ conduct, according to Plaintiffs, rendered

    all claims brought by members of the putative Class virtually valueless because the

    inability to prove that Emtal Talc contained asbestos made all such claims

    defective, in the first instance. The Representative Plaintiffs’ claims typify every

    other putative Settlement Class Member because Defendants defended every

    lawsuit the same way by denying that Emtal Talc contained asbestos and that there

    was any evidence that it did.

          4. The Representative Plaintiffs’ interests fully align with those of the
             putative Settlement Class as they made the same fraud, fraudulent
             concealment and conspiracy claims under New Jersey law.

          The final prong of Rule 23 “encompasses two distinct inquiries designed to

    protect the interests of absentee class members: ‘it considers whether the named

    plaintiffs’ interests are sufficiently aligned with the absentees’, and it tests the

    qualification of the counsel to represent the class.” In re Community Bank of

    Northern Virginia, 418 F.3d 277, 203 (3d Cir. 2005) (quoting In re Gen. Motors

    Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F3d 768, 800 (3d Cir.

    1995)).

              a. Representative Plaintiffs.

          Class representatives “must be part of the class and possess the same interest

    and suffer the same injury as the class members.” Id. at 625-26. As the Third

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    Circuit has explained, the “linchpin of the adequacy requirement is the alignment

    of interests and incentives between the representative plaintiffs and the rest of the

    class.” Dewey v. Volkswagen Aktiengesellschaft, 681 F.3d 170, 183 (3d Cir. 2012).

          The interests of the Representative Plaintiffs and putative Class Members

    are closely aligned here. They all brought lawsuits against Engelhard, or its

    corporate successor, BASF, which were dismissed, either voluntarily or not. They

    all also allege that from 1984 to 2010, Engelhard and its former law firm, Cahill,

    made misstatements or concealed evidence about the existence of asbestos in

    Emtal Talc, which caused (either voluntarily or not) the dismissal of their cases. In

    other words, all members of the putative Settlement Class allege that their injuries

    arose from one cause—the fraudulent concealment of evidence—by BASF and

    Cahill over a defined time-period. Representative Plaintiffs and the putative Class

    Members thus possess the same interest and suffered the same injury.

          Indeed, the Settlement Class proposed here avoids the sort of fundamental

    conflict that might defeat a finding of adequacy: a futures problem. See NFL, 821

    F.3d at 431. Unlike the “sprawling” proposed class in Amchem, which involved

    hundreds of thousands and perhaps millions of people who were or someday may

    be adversely affected by past exposure to asbestos products manufactured by one

    or more of twenty companies, the proposed Settlement Class compensates Class

    Members for injuries and losses suffered years ago by a defined group who had
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    filed suits against one company (Engelhard/BASF), which were dismissed during

    the class period (and hence there are no future claimants to consider as all Class

    Members have already had an alleged manifest asbestos disease qualifying them),

    and utilizes a rational means of distributing the settlement proceeds. In other

    words, this class has a great deal of cohesion given that, unlike Amchem and Ortiz,

    there are no “exposure-only plaintiffs” in the putative class that have not already

    filed claims that were dismissed based on the alleged past conduct of the

    Defendants. Here, in contrast to Amchem and Ortiz, claimants either brought and

    had their lawsuit dismissed by March 30, 2011, or not. No divide exists between

    holders of present and future claims here. And lacking that, no conflict could be

    found between the putative class members, much less a fundamental one. See In re

    Pet Foods Products Liability Litigation, 629 F.3d 333, 346 (3d Cir. 2010)

    (rejecting argument that subclasses were necessary because “all class members . . .

    have present claims”).

          While the proposed Settlement Agreement features a claims process that will

    differentiate payment shares between Class Members based on the degree of their

    underlying asbestos-injuries and disease, “differences in settlement value do not,

    without more, demonstrate conflicting or antagonistic interests within the class.”

    Pet Foods, 629 F.3d at 346. After all, “varied relief among class members with

    differing claims in class settlements is not unusual.” Id. (citing Petrovic v. Amoco

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    Oil Corp., 200 F.3d 1140, 1146 (8th Cir. 1999) (“[A]lmost every settlement will

    involve different awards for various class members.”). And more fundamentally,

    “if subclassing is required for each material legal or economic difference that

    distinguishes class members, the Balkanization of the class action is threatened.” In

    re Cendant Corp. Sec. Litig., 404 F.3d 173, 202 (3d Cir. 2005). 11

          No subclasses are necessary here. The Plan of Distribution’s use of four

    different levels of allocation from the Settlement Fund reflect the relative value of

    the different injuries, which drive the value of the alleged fraud and concealment

    damages allegedly sustained by members of the Settlement Class. Plaintiffs

    developed the Plan of Distribution by drawing on the experience and expertise of

    Verus as well as historical information on the resolution of asbestos-injury claims

    from several sources, including asbestos settlement trusts. The Plan of Distribution



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       The Settlement’s release will release all class members’ personal injury claims
    against the Released Parties (which includes BASF) based on prior exposure to
    Emtal Talc, including any claim for possible future disease progression from a
    non-malignant asbestos disease to a malignant asbestos disease (a/k/a “second
    asbestos disease claims”). The Plan of Distribution will make its Part B Fund
    allocations based on the Primary Claimant’s (i.e.- the physically injured person)
    asbestos disease severity level as of the time of the claim submission to the
    Settlement Fund. The class Notice advises currently living class members with a
    non-malignant asbestos disease that there will be no further right to claim for a
    malignancy against either the Released Parties or the Settlement Fund should a
    malignant asbestos disease manifest in the future. Of course, those Class Members
    retain all other existing rights and claims against other parties who are not
    defendants in this Action who are potentially liable.
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    therefore fairly reflects the extent of the injury that the Settlement Class Members

    incurred and which they could not prosecute without the evidence of asbestos in

    Emtal Talc that Defendants allegedly denied to them. The Court should therefore

    find that the interests of the Representative Plaintiffs and putative Class Members

    are closely aligned, and that establishing subclasses would have risked slowing

    down and even halting settlement discussions. See N.F.L., 821 F.3d at 432 n.9

    (agreeing that additional subclasses “were unnecessary and risked slowing down or

    even halting the settlement negotiations”).

             b. Class Counsel.

          In connection with this motion, Plaintiffs provide firm biographies for

    Cohen, Placitella & Roth P.C, which include the qualifications and

    accomplishments of its members. Exhibit BB. Plaintiffs’ Counsel devoted

    themselves to this case for over nine years. Indeed, throughout the lengthy and

    hotly contested proceedings Defendants were represented by highly able and

    experienced counsel. Plaintiffs’ Counsel, moreover, have proved themselves to be

    more than adequate to represent the Class throughout this intense litigation, which

    included extensive pre-suit investigation about Emtal Talc and the Underlying

    Lawsuits after discovering the initial information from Westfall; development of a

    claim for relief based on fraud and fraudulent concealment which had occurred

    decades in the past; several rounds of significant motions to dismiss; a successful

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    Third Circuit appeal; extensive discovery and intense motion practice on remand to

    the District Court; and multiple rounds of mediation.

          5. The Court should conditionally certify a settlement class under Rule
             23(b)(3) for monetary relief.

          To gain certification under Rule 23, the named plaintiffs must show “that the

    questions of law or fact common to class members predominate over any questions

    affecting only individual members, and that a class action is superior to other

    available methods for fairly and efficiently adjudicating controversy.” In re

    Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 310 (3d Cir. 2008). Plaintiffs

    meet both of these Rule 23(b)(3) “predominance and superiority” requirements.

                 a. Common questions of law and fact predominate.

          Common questions of law and fact predominate in this Action. Here,

    Plaintiffs alleged that all the Underlying Lawsuits were truncated as a result of

    Defendants’ alleged fraud, namely that Defendants purportedly concealed the

    presence of asbestos in their talc products. 12




    12
           Defendants do not admit this to be the case and claim the allegations against
    them are unfounded and not true, and that, in fact, they did nothing wrong or
    improper. The settlement before the Court is a genuine compromise of intensely
    different views that is being proposed to bring nine years of constant litigation to
    an end and avoid the further burden, distraction and considerable expense of
    continuing with the litigation.
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          The predominance inquiry “calls upon courts to give careful scrutiny to the

    relation between common and individual questions in a case.” Tyson Foods, Inc. v.

    Bouaphakeo, __ U.S. __, 136 S. Ct. 1036, 1045 (2016). It “‘tests whether proposed

    classes are sufficiently cohesive to warrant adjudication by representation.’” NFL,

    821 F.3d at 434 (quoting Amchem Prods v. Windsor, 521 U.S. 591, 623 (1997)).

    Compared to the commonality test of Rule 23(a), Rule 23(b)’s predominance test is

    more demanding. Id. (citing Warfarin, 391 F.3d at 528). But significantly, courts

    are “inclined to find the predominance test met in the settlement context.” Id.

    (quoting Sullivan, 667 at 304 n.29).

          “Predominance is a test readily met in certain cases alleging consumer or

    securities fraud or violations of the antitrust laws.” Amchem, 521 U.S. at 625. The

    principle readily extends to this fraud and fraudulent concealment action.

    Recognizing this principle, the Third Circuit held in Warfarin that common issues

    predominated because plaintiffs alleged that DuPont “engaged in a broad-based

    campaign, in violation of federal and state consumer fraud and antitrust laws, to

    deceive consumers, TPPs, health care professionals, and regulatory bodies into

    believing that generic warfarin sodium was not an equivalent alternative to

    Coumadin.” Warfarin, 391 F.3d at 528. These allegations, as the Third Circuit

    explained, raised several questions of law and fact that predominated over any

    individual issues, “including the unlawfulness of DuPont’s conduct under federal

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    antitrust laws as well as state law, the causal linkage between DuPont’s conduct

    and the injury suffered by the class members, and the nature of the relief to which

    class members are entitled.” Id. The Third Circuit also noted that proof of

    DuPont’s liability “depends on evidence which is common to the class members,

    such as evidence that DuPont made misrepresentations about Coumadin and

    generic warfarin sodium . . . .” Id. Or put another way, as the Third Circuit noted,

    “while liability depends on the conduct of DuPont, and whether it conducted a

    nationwide campaign of misrepresentation and deception, it does not depend on the

    conduct of individual class members.” Id.

          The Third Circuit similarly found in NFL that common issues focusing on

    the “NFL’s knowledge and conduct as well as common scientific questions

    regarding causation” predominated over individual ones. NFL, 821 F.3d at 434. As

    the Third Circuit recognized, the negligence claims there “depend[ed] on

    establishing that the NFL . . . knew of the dangers of concussive hits yet failed to

    modify the rules of NFL Football to mitigate them, or even to warn [r]etired

    [p]layers that they were risking serious cognitive injury by continuing to play.” Id.

    The fraud claims, according to the Third Circuit, likewise “suggest a similarly far-

    reaching scheme, alleging that the . . . MTBI Committee repeatedly obfuscated the

    link between football play and head trauma.” Id.



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          The objectors in NFL argued that “damage claims in mass-tort class

    action[s] . . . are too individualized to satisfy the requirements of predominance.”

    Id. The Third Circuit disagreed, noting that “Amchem itself warned that it does not

    mean that a mass tort case will never clear the hurdle of predominance.” Id. (citing

    Amchem, 521 U.S. at 624). To the contrary, as the Third Circuit explained, the

    “class of retired NFL players does not present the same obstacles for predominance

    as the Amchem class of hundreds of thousands (maybe millions) of persons

    exposed to asbestos.” Id.

          The Third Circuit has held that fraudulent concealment by a defendant “is a

    common question, subject to being uniformly resolved on behalf of all members of

    the class.” Winoff Industries v. Stone Container Corp. (In re Linerboard Antitrust

    Litig.), 305 F.3d 145, 160–61 (3d Cir. 2002). It does not matter that there may be

    individual questions in an action for fraud and fraudulent concealment, such as on

    damages. Id.; see also Newton v. Merrill Lynch, Pierce, Fenner & Smith, 259 F.3d

    154 (3d Cir. 2001) (“obstacles to calculating damages may not preclude class

    certification”). What matters is that Plaintiffs have alleged the existence of a

    common scheme to defraud all putative members of the Settlement Class in the

    same manner with the same result. Thus, as in Warfarin and NFL, liability here

    depends on whether Defendants allegedly denied Class Members an evidential

    record containing evidence that Emtal Talc contained asbestos.

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                 b. Superiority.

          Rule 23(b)(3)’s superiority requirement “asks the court to balance, in terms

    of fairness and efficiency, the merits of a class action against those of alternative

    available methods of adjudication.” NFL, 821 F.3d at 434. In performing this task,

    courts “consider the class members’ interests in individually controlling litigation,

    the extent and nature of any litigation, the desirability or undesirability of

    concentrating the litigation, and the likely difficulties in managing a class action.”

    Id. (citing Fed. R. Civ. P. 23(b)(3)(A)-(D)).

          In NFL, the district court found the superiority requirement “satisfied

    because ‘the [s]ettlement avoids thousands of duplicative lawsuits and enables fast

    processing of a multitude of claims.’” NFL, 821 F.3d at 435 (citing Turner, 307

    F.R.D. at 382). In much the same vein, this proposed Settlement would avoid

    thousands of duplicative lawsuits that as the experience in this case demonstrates,

    would involve lengthy and costly proceedings.

          If each member of the putative Settlement Class were left to litigate his or

    her claims individually, decades of litigation would likely ensue at significant

    expense in many different state and federal courts throughout the country,

    potentially resulting in conflicting rulings. Compensation resulting from such

    individual litigation is highly uncertain given the disputes over product

    identification and the attorney-client privilege, which may not be resolved before

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    lengthy, duplicative and costly trial and appellate proceedings are complete. The

    approval of a Settlement Class here is superior to individual litigation as the Plan

    of Distribution provides a coherent, fair, and economical process for a claims

    administrator to resolve all claims without the need for individual trials. The

    Settlement Agreement also provides that the Defendants will pay $3.5 million to

    cover the costs of administration.

       D. The proposed form and method of class notice satisfy due process.

          After preliminarily approving a class action, the Court “must direct notice in

    reasonable manner to all class members who would be bound by the proposal.”

    Fed. R. Civ. P. 23(e)(1). The Court must ensure that class members receive the

    “the best notice that is practicable under the circumstances, including individual

    notice to all members who can be identified through reasonable effort.” Fed. R.

    Civ. P. 23(c)(2)(B).

          In “plain, easily understood language,” the notice must “clearly and

    concisely state”: “(i) the nature of the action; (ii) the definition of the class

    certified; (iii) the class claims, issues or defenses; (iv) that a class member may

    enter an appearance through an attorney if the member so desires; (v) that the court

    will exclude from the class any member who requests exclusion; (vi) the time and

    manner for requesting exclusion; and (vii) the binding effect of a class judgment on

    members under Rule 23(c)(3).” Fed. R. Civ. P. 23(c)(2)(B). In addition to the

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    requirements of Rule 23, the notice must satisfy due process requirements that the

    notice be “reasonably calculated, under all the circumstances, to apprise interested

    parties of the pendency of the action and afford them an opportunity to present

    their objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306,

    314 (1950).

          The proposed long-form and short-form notices satisfy these requirements.

    See Exhibits K and L, respectively. Both of these notices are written in plain and

    straightforward language. They also objectively and neutrally apprise all

    Settlement Class Members that of the nature of action; the benefits of the proposed

    Settlement, the definition of the Settlement Class to be certified; the claims, issues

    and defenses in the Williams Action; that the Court will exclude from the Class

    anyone who opts out of the Settlement pursuant to procedures and deadlines for

    doing so; the binding effect of a class judgment on Settlement Class Members; and

    the procedures and deadlines for the submission of objections to any aspect of the

    proposed Class Action Settlement. Complete as these disclosures are, this Court

    should approve the proposed long-form and short-form notices.

          To deliver the best notice practicable to the putative Class, the Parties

    together with their notice agent, Orran L. Brown, Sr., of BrownGreer PLC, have

    developed a comprehensive Notice Plan that more than satisfies the requirements

    of Rule 23 and due process. Exhibit M. As described earlier, through extensive
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    data analysis, BrownGreer was able to identify deceased putative Class Members,

    their first-degree relatives, and the last known addresses for these relatives and

    putative Class Members presumed to be living. BrownGreer will mail the long-

    form notice to all these individuals and estimates that in excess 77% of the putative

    Settlement Class can be reached directly or through at least one living relative. See

    Grunewald v. Kasperbauer, 235 F.R.D. 599, 609 (E.D. Pa. 2006) (approving direct

    notice plan that would reach 55% of the class).

          To supplement the direct notice program, BrownGreer has also designed a

    constructive notice program designed to expose potential Class Members to the

    notice. In so doing, BrownGreer considered the characteristics of the putative Class

    Members and how those audience members are most likely to see and respond to

    the notice.

          To provide supplemental notice to these putative Class Members,

    BrownGreer will (1) place advertisements in both national publications as well as

    regional ones in Ohio, Mississippi, Georgia, and Alabama; (2) place banner

    advertisements in the online version of People magazine and through a paid search

    component involving the use of targeted keywords on top Internet search engines,

    such as Google; and (3) release a press release through Cision/PR Newswire that

    BrownGreer expects will be picked up by hundreds of media outlets. See Turner,

    307 F.R.D. at 385-86 (approving notice program that included direct notice to
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    putative class members and supplemental notice through paid media

    advertisements and internet ads on websites).

          The Notice Plan as designed provides the best notice practicable under the

    circumstances; and therefore, this Court should approve the Notice Plan as it

    satisfies the requirements of Rule 23 and due process.

       E. The plan of distribution treats class members equitably relative to each
          other.

          The Plan of Distribution of the Settlement Fund is fair and reasonable and

    should therefore be approved.

          “Approval of a plan of allocation of a settlement fund in a class action is

    governed by the same standard of review applicable to approval of the settlement

    as a whole: the distribution plan must be fair, reasonable and adequate.” In re

    Computron Software, 6 F. Supp. 2d 313, 321 (D.N.J. 1998) (citing Class Plaintiffs

    v. City of Seattle, 955 F.2d 1268, 1284-85 (9th Cir.), cert. denied sub nom 506 U.S.

    953 (1992)). “A plan of allocation that reimburses class members based on the

    extent of their injuries is generally reasonable.” Id. (internal citations omitted). See

    also In re Omnivision Techs., 559 F. Supp. 2d 1036, 1045 (N.D. Cal. 2007) (“It is

    reasonable to allocate the settlement funds to class members based on the extent of

    their injuries or the strength of their claims on the merits.”).“It is also reasonable to

    allocate more of the settlement to class members with stronger claims on the

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    merits.” In re Oracle Sec. Litig., No. 90-931, 1994 U.S. Dist. LEXIS 21593, *3-4

    (N.D. Cal. 1994).

            “An allocation formula need only have a reasonable, rational basis,

    particularly if recommended by ‘experienced and competent’ class counsel.”

    Maley v. Del Global Techs. Corp., 186 F. Supp. 2d 358, 367 (S.D.N.Y. 2002)

    (quoting White v. NFL, 822 F. Supp. 1389, 1420-24 (D. Minn. 1993), aff’d, 41

    F.3d 402 (8th Cir. 1994)). The Court cannot “blindly accept the recommendation

    of class counsel[.]” In re Federal Skywalk Cases, 97 F.R.D. 380, 389 (W.D. Mo.

    1983). But it “is entitled to and [should] place considerable weight on their

    recommendations.” Id. Indeed, as this Court has recognized, “courts give great

    weight to the opinion of qualified counsel” in determining the fairness,

    reasonableness and adequacy of a proposed plan of distribution.” In re Royal

    Dutch/Shell Transp. Sec. Litig., No. 04-374, 2008 U.S. Dist. LEXIS 124269, *66

    (D.N.J. 2008).

            As discussed above, the Plan of Distribution calls for the establishment of

    three compensation programs to which Settlement Class Members meeting defined

    eligibility criteria may apply for compensation award payments based on the

    existence and severity of asbestos disease. The first program, Part A, provides Base

    Payments of up to $500 to Settlement Class Members from a $ 6.25 million sub-

    fund.
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          The Plan’s Part B program would provide additional compensation to

    Injured Persons in the Underlying Lawsuits from a $ 59.75 million sub-fund to be

    allocated among and paid to those Claimants adjudicated to be eligible according

    to the disease level sustained using an assigned number of “Qualifying Claim

    Points” based on whether they have a Part B Level 1, 2, 3, or 4 disease. Verus

    determined the number of Qualifying Claim Points” for each asbestos disease

    category based upon a survey and analysis of the compensation programs

    employed by eighteen relatively comparable bankruptcy asbestos trust claims

    facilities. See Declaration of Mark Zabel, Exhibit E.

          Lastly, the Plan’s Part C program features a $ 6.5 million Extraordinary

    Injury Fund, under which the Settlement Trustee has discretionary authority to

    award additional compensation to claimants with mesothelioma who can also

    establish that they sustained an extraordinary physical injury and/or economic loss.

          As Plan of Distribution would reimburses class members based on the extent

    of their injuries, the Plan is reasonable and should be preliminarily approved.




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                                      V.     Conclusion

          For these reasons, the Court should preliminarily approve the Class Action

    Settlement, conditionally certify the proposed Settlement Class, authorize the

    proposed Notice Program, allow Interim Claims Processing under the proposed

    Plan of Distribution, and set a schedule for final approval of the Class Action

    Settlement.

                                       Respectfully Submitted,

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